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02:01:14      1
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              3
              4                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
              5                                EASTERN DIVISION
              6
              7    UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8      Plaintiff,                             Chicago, Illinois
                                                            June 6, 2011
              9             v.                              Trial
                                                            1:45 P.M. SESSION
             10
                   RON COLLINS,
             11
                     Defendant.
             12    -------------------------------
             13
             14                                 VOLUME 4-B
                                            TRANSCRIPT OF TRIAL
             15                   BEFORE THE HONORABLE VIRGINIA M. KENDALL
                                 UNITED STATES DISTRICT JUDGE, AND A JURY
             16
             17
             18    APPEARANCES:
             19
             20
                   For the Government:         Office of the U.S. Attorney
             21                                By: Halley B. Guren, and
                                                    Renai S. Rodney
             22                                219 S. Dearborn St., 5th Fl.
                                               Chicago, IL 60604
             23                                (312) 353-5300
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   2
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   4
   5
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  25    produced by notereading.
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   1                                      I N D E X
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   6     JURY INSTRUCTION CONFERENCE                                              978
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              1               (Resumed at 1:30 p.m.)
              2               (Whereupon the following discussion was had in open
02:01:26      3    court, outside the presence of the jury:)
02:01:26      4               THE COURT: Case 9CR673, USA versus Ron Collins.
02:01:26      5                                        - - -
02:01:33      6                          JURY INSTRUCTION CONFERENCE
02:01:33      7               THE COURT: Okay, folks. What I would like to do is
02:01:34      8    go through your jury instructions. So as they stand, when we
02:01:37      9    had our last conference, is the packet that my clerk just
02:01:42     10    handed to you, and I believe we've incorporated the
02:01:45     11    supplemental ones that came in throughout the course of the
02:01:48     12    trial.
02:01:48     13               So I am going to flip directly to those that need
02:01:57     14    modification. First of all, page 3, we will exclude the last
02:02:00     15    bracketed section, since Mr. Collins has informed me that he
02:02:04     16    is not going to testify.
02:02:05     17               And then as far as the next one that was potentially
02:02:11     18    disputed, okay, we will give then page 10, which is his Fifth
02:02:21     19    Amendment right. So that will be given.
02:02:25     20               And then page 12 is the one regarding identification
02:02:32     21    of a person, and I believe there was some discussion because
02:02:37     22    we have voice identification here. Do we believe that this is
02:02:40     23    an accurate way to go about telling the jury, Mr. Rubino?
02:02:46     24               MR. RUBINO: I'm just reading, please.
02:03:15     25               THE COURT: I'm wondering whether time of the offense
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02:03:18      1    makes much sense here, whether the witness had the ability and
02:03:23      2    opportunity to hear. First, we don't need observe, right?
02:03:27      3               MS. GUREN: Well, your Honor, there was some in-court
02:03:29      4    identifications of the --
02:03:30      5               THE COURT: Oh, we have both, right.
02:03:32      6               MS. GUREN: -- defendant.
02:03:42      7               I do agree with you that it would be a little
02:03:45      8    confusing given how the voice ID was handled --
02:03:45      9               THE COURT: Right, it's not necessarily at the --
02:03:50     10               MS. GUREN: Maybe if we just strike, At the time of
02:03:53     11    the offense and later.
02:03:54     12               THE COURT: To hear the person and to make a reliable
02:03:56     13    identification. I think that makes a little more sense.
02:04:09     14               Mr. Rubino, any objection to those modifications?
02:04:35     15               MR. RUBINO: No, I think I'm okay with it.
02:04:37     16               THE COURT: Okay. So I took out, At the time of the
02:04:40     17    offense, since we have kind of an oddity with the recordings.
02:04:43     18    Okay?
02:04:43     19               MS. GUREN: And I think it maybe would then make
02:04:46     20    sense to take out the word later.
02:04:48     21               THE COURT: Yes, I took that out as well.
02:04:50     22               MR. RUBINO: The first line we have to add a.
02:04:56     23               THE COURT: Of a person, okay, got it.
02:04:59     24               All right. Then the next one that we had under
02:05:04     25    advisement was number 15, and this was the one you had
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02:05:08      1    objected to regarding the truly and accurately summarizing the
02:05:12      2    contents. And that was because you had not had a chance to go
02:05:16      3    through the voluminous records and documents. This is, I
02:05:23      4    believe, a standard instruction.
02:05:25      5               How is it modified?
02:05:29      6               MS. GUREN: Your Honor, I -- let me just check really
02:05:31      7    quickly to see how it's modified, because it's not readily
02:05:35      8    apparent to me right now.
02:05:49      9               I actually don't believe it is modified.
02:05:51     10               THE COURT: I don't think it is either.
02:06:11     11               So 3.16 is the one that would be available to you, if
02:06:16     12    you were challenging the records. But I think the last time
02:06:19     13    we were here together, you had not had a chance to review all
02:06:26     14    of those records to see if those summaries were accurate, and
02:06:29     15    you've not objected to those. So I'm assuming that they are
02:06:32     16    an accurate summary.
02:06:34     17               MR. RUBINO: I don't question the accuracy -- I think
02:06:37     18    that's the word -- of the documents. Obviously, I question
02:06:40     19    the interpretation by the witness.
02:06:43     20               THE COURT: Right, and that's still available for you
02:06:45     21    for closing.
02:06:48     22               MR. RUBINO: Yes.
02:06:48     23               THE COURT: Okay. All right. So that one will be
02:06:48     24    given.
02:06:49     25               The next one that was modified slightly was that we
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02:06:59      1    did add Pedro Flores' name to page 17.
02:07:03      2               MS. GUREN: And we would just ask that this
02:07:05      3    instruction be under seal, if it goes into the public record.
02:07:18      4               THE COURT: Okay. Did you hear that Tresa?
02:07:23      5               THE CLERK: No, Judge, I didn't.
02:07:24      6               THE COURT: We need to seal Government instruction
02:07:26      7    number 17 --
02:07:30      8               THE CLERK: Okay.
02:07:30      9               THE COURT: -- when we file these. Okay.
02:07:34     10               MR. RUBINO: Your Honor, I objected to the wording --
02:07:38     11    the insertion in 16.
02:07:41     12               THE COURT: Oh.
02:07:41     13               MR. RUBINO: Which is the second sentence. These
02:07:44     14    recordings were made legally by the Government. That is not
02:07:47     15    in the original instruction. That was inserted by the
02:07:51     16    Government. I objected to it at our conference, and I still
02:07:54     17    object to that being added.
02:08:01     18               THE COURT: Well, the second -- the third sentence
02:08:04     19    essentially says what needs to be said in the standard one,
02:08:09     20    and they were already instructed during voir dire that they
02:08:12     21    were legal, so I will sustain your objection and remove the
02:08:15     22    second line --
02:08:16     23               MR. RUBINO: Thank you.
02:08:18     24               THE COURT: -- and give the standard.
02:08:23     25               Okay. Then 17 we'll keep under seal.
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02:08:25      1               The next one I know you had an objection, but I said
02:08:29      2    I was going to give, which is on page 19, and that's the
02:08:35      3    conspiracy instruction. But the next one, 20, was the one
02:08:40      4    that we still took under advisement, and that was that, The
02:08:45      5    Government need not prove that the defendant knew each detail
02:08:48      6    of the conspiracy, or that the defendant played more than a
02:08:51      7    minor role in the conspiracy. The defendant need not have
02:08:56      8    participated in all of the events of the charged conspiracy to
02:09:00      9    be a member.
02:09:03     10               Now, I believe you had an objection to that?
02:09:05     11               MR. RUBINO: Yes, I did, your Honor.
02:09:06     12               THE COURT: Okay.
02:09:06     13               MR. RUBINO: I still maintain that objection.
02:09:08     14               THE COURT: And what is the basis of the objection,
02:09:11     15    not that it is an improper statement of the law.
02:09:15     16               MR. RUBINO: Your Honor, I -- I'm going to ask the
02:09:17     17    Court to give a mere presence instruction, and this almost
02:09:21     18    sounds to me like a reversal of a mere presence instruction.
02:09:25     19               THE COURT: Okay. Let's take a look at the mere
02:09:27     20    presence then.
02:09:28     21               MR. RUBINO: Which is 5.11.
02:09:42     22               THE COURT: So you would be seeking, I assume, the
02:09:48     23    bracketed language in A?
02:09:50     24               MR. RUBINO: Yes, I would, your Honor.
02:09:51     25               THE COURT: Not the first language.
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02:09:54      1               MR. RUBINO: No, I would not ask the first, of
02:09:57      2    course.
02:09:57      3               THE COURT: Right.
02:09:59      4               MS. GUREN: I think based on the defendant's defense
02:10:02      5    of it not being his voice on the voice ID, that he doesn't
02:10:06      6    know these people, I don't believe the mere presence
02:10:09      7    association -- or presence instruction, there's been
02:10:11      8    sufficient evidence to establish giving that instruction.
02:10:14      9               MR. RUBINO: We do know these people. We know
02:10:17     10    Mr. Gregory. We bought a car from him, met with him. He was
02:10:20     11    present with Mr. Gregory at the body shop. I think he was --
02:10:24     12    could be construed as being merely present there for the
02:10:27     13    purpose of the car, not for the purpose of the drug deal.
02:10:37     14               MS. GUREN: And I also believe that this mere
02:10:39     15    presence instruction -- regardless if the Court decides to
02:10:41     16    give it -- does not mean that the instruction in 20 is not,
02:10:45     17    first of all, an accurate statement of law, and, second of
02:10:48     18    all, different than the mere presence instruction, and,
02:10:50     19    therefore, necessary to give -- to help the jury's
02:10:52     20    understanding.
02:11:21     21               THE COURT: Okay. I believe that instruction number
02:11:23     22    20 is a correct statement of the law, and it will be given,
02:11:26     23    over objection. And I do believe that Mr. Rubino has
02:11:29     24    presented a theory of defense for the mere presence
02:11:33     25    instruction, especially based upon the scenario that he
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02:11:36       1   described at the car -- and so we will insert 5.11, and it
02:11:44       2   will be the bracketed language of A, which is the one that
02:11:47       3   comports with our evidence here.
02:11:49       4               MR. RUBINO: Okay. That is my request.
02:11:50       5               THE COURT: Okay. It will be added directly after
02:11:53       6   this at page 22.
02:11:57       7               Okay. Then we have the supplemental instruction on
02:12:02       8   page 22, which charges a conspiracy to possess with intent to
02:12:07       9   distribute. And it's just knowing the type of controlled
02:12:13     10    substance, and that is a correct statement of the law.
02:12:24     11                Okay. So is there any objection to that one now?
02:12:27     12    This is a supplemental one that we didn't review originally.
02:12:30     13                MR. RUBINO: We're on page 22, your Honor?
02:12:33     14                THE COURT: Yes, we are.
02:12:33     15                MR. RUBINO: No objection.
02:12:33     16                THE COURT: Okay. That'll be given then.
02:12:46     17                And then the other supplemental one was on page 29,
02:12:53     18    and we modified that to get rid of rouses and undercover
02:12:58     19    agents, and now we have consensual recordings and confidential
02:13:08     20    informants. I've already instructed the jury -- voir dire
02:13:12     21    panel -- excuse me. I've already instructed the panel during
02:13:14     22    voir dire that this is a proper statement of the law, so this
02:13:18     23    will be given also.
02:13:19     24                And then the next one that was taken under advisement
02:13:23     25    was page 31 about not speculating why any other person whose
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02:13:30       1   name you may have heard during the trial is not currently on
02:13:33       2   trial before you. That usually helps both sides, so that we
02:13:37       3   are not looking to determine why someone isn't here, but I
02:13:41       4   don't know if I had your position on the record.
02:13:43       5               MR. RUBINO: No problem.
02:13:44       6               THE COURT: Okay. I'll give that one then.
02:13:46       7               And then the Government had proposed page 32 about
02:13:56       8   not speculating about punishment, and I believe we modified
02:13:59       9   that slightly.
02:14:07     10                MR. RUBINO: (Shaking head.)
02:14:08     11                THE COURT: I think before it was the one, If
02:14:09     12    convicted, and we took that out. So this is a better one.
02:14:12     13                MR. RUBINO: I think this is fine.
02:14:13     14                THE COURT: Okay. That'll be given then.
02:14:15     15                And then that leads us to the supplemental one
02:14:22     16    regarding the McHenry County Jail calls. Do you need that
02:14:25     17    given at the end as well? We gave that during trial.
02:14:31     18                It's page 36. I'm sorry.
02:15:02     19                MR. RUBINO: Your Honor, we don't see a need for
02:15:04     20    that.
02:15:04     21                THE COURT: Okay. All right. Then with your -- then
02:15:07     22    since they were already instructed once --
02:15:09     23                MR. RUBINO: Yes.
02:15:09     24                THE COURT: -- regarding the limited purpose of that
02:15:11     25    call, we don't need to give it again.
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02:15:14       1               And then it goes to our verdict form, and what's the
02:15:19       2   position on the verdict form?
02:15:19       3               (No response.)
02:15:35       4               THE COURT: Any problems with it? Anyone?
02:15:37       5               MS. GUREN: No problems with it from the Government.
02:16:00       6               MR. RUBINO: Acceptable.
02:16:01       7               THE COURT: Okay. All right then. Give my staff --
02:16:05       8   we'll start up at 2:30 with the closing arguments. That'll
02:16:08       9   give us twenty minutes to edit these and get them printed out
02:16:13     10    for you and the jury. Be ready to get started exactly at
02:16:13     11    2:30.
02:16:13     12                Anything else? Did you have any other instructions
02:16:19     13    other than the mere presence?
02:16:19     14                MR. RUBINO: No, your Honor.
02:16:20     15                THE COURT: Okay. All right. Thank you then. We'll
02:16:21     16    start up at 2:30.
02:41:48     17                (Recess taken.)
02:41:48     18                THE COURT: Okay, folks. We're going to bring the
02:41:50     19    jury in. My clerk will give you a copy of the jury
02:41:54     20    instructions, as they are printed out, during closings, so
02:41:57     21    we'll just drop them on the table.
02:41:59     22                And you can bring them in now, Jeff.
02:42:32     23                (The jury enters the courtroom.)
02:43:00     24                THE COURT: Okay, folks. Please be seated. Thank
02:43:02     25    you for your patience. We did a lot of legal work while you
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02:43:04       1   were waiting for us, so we are ready to actually proceed into
02:43:08       2   closing arguments. Remember, as I told you, that the defense
02:43:11       3   has no obligation to put on a case, nor does the defendant
02:43:14       4   have any obligation to testify. In fact, he has an absolute
02:43:18       5   right not to testify.
02:43:19       6               And so we are going to move directly into closing
02:43:23       7   arguments, so I will now recognize Ms. Rodney. And, remember,
02:43:28       8   these are not evidence. These are what the lawyers believe
02:43:33       9   the evidence has shown and the reasonable inferences from that
02:43:38     10    evidence. You may proceed.
02:43:39     11                MS. RODNEY: Thank you, your Honor.
02:43:41     12                                         - - -
02:43:42     13                         MS. RODNEY, CLOSING ARGUMENT
02:43:42     14                MS. RODNEY: The defendant had a business, a cocaine
02:43:46     15    business. Over a three-year period, week after week, month
02:43:52     16    after month, the defendant purchased kilogram-quantities of
02:43:57     17    cocaine and he turned around and sold that cocaine to his
02:44:02     18    customers for a profit.
02:44:04     19                During this trial, you heard evidence of the
02:44:08     20    defendant's cocaine business. You heard from the insider
02:44:12     21    witnesses, who were drug couriers, who delivered
02:44:15     22    multiple-kilogram-quantities of cocaine in various locations
02:44:20     23    around Chicago.
02:44:21     24                You heard from the insider drug customer witness who,
02:44:25     25    over a three-year period, bought between nine-ounce and
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02:44:30       1   four-kilogram quantities of cocaine from the defendant.
02:44:32       2               You heard three recorded phone calls between the
02:44:36       3   defendant and his supplier where the defendant ordered 30
02:44:40       4   kilograms of cocaine at $28,000 per kilogram. And you saw the
02:44:46       5   financial records where you saw how the defendant spent some
02:44:49       6   of the money he made from his cocaine business.
02:44:52       7               Now, as a result of the defendant's business, he's
02:44:56       8   been charged with the crime of conspiracy. And the evidence
02:45:01       9   that you have seen during this trial has proven beyond a
02:45:04     10    reasonable doubt that the defendant is guilty of that
02:45:06     11    conspiracy.
02:45:07     12                I'm going to begin by reviewing the charges against
02:45:12     13    the defendant and the instructions I expect Judge Kendall will
02:45:15     14    give you on the crime of conspiracy. The indictment in this
02:45:19     15    case charges the defendant with conspiring to possess with
02:45:24     16    intent to distribute and to distribute a controlled substance,
02:45:28     17    namely, five kilograms or more of cocaine.
02:45:32     18                I expect that Judge Kendall will instruct you that in
02:45:35     19    order to find the defendant guilty of the charge of
02:45:39     20    conspiracy, the Government must prove two things. First, that
02:45:51     21    the conspiracy, as charged in the indictment, existed; and,
02:45:53     22    second, that the defendant knowingly became a member of the
02:45:55     23    charged conspiracy with an intention to further it.
02:46:02     24                So what is a conspiracy? A conspiracy is simply an
02:46:12     25    agreement between two or more people to commit an illegal act.
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02:46:13       1   And in this case that illegal act is the distribution of
02:46:17       2   cocaine.
02:46:19       3               How do you go about proving a conspiracy? Well,
02:46:23       4   criminals don't sit down and write on a piece of paper and
02:46:26       5   enter into a formal contract where they agree to distribute
02:46:30       6   drugs. You prove a conspiracy by looking at the words and the
02:46:33       7   actions of the conspirators. You prove the defendant's
02:46:38       8   participation in the conspiracy by looking at his words and
02:46:41       9   his actions.
02:46:44     10                Now, during this trial you've heard eight categories
02:46:49     11    of evidence that have proven the evidence of a conspiracy to
02:46:53     12    distribute cocaine, and it's also proven the defendant's
02:46:57     13    participation in that conspiracy as a wholesale purchaser and
02:47:00     14    distributor of cocaine.
02:47:02     15                You heard the insider testimony from four drug
02:47:05     16    couriers, who all identified the defendant as someone to whom
02:47:10     17    they delivered between 20 and 50 kilograms of cocaine between
02:47:14     18    2005 and 2008. You heard the insider testimony of one drug
02:47:21     19    customer, Robert Gregory, who purchased between nine ounces
02:47:24     20    and four kilograms of cocaine from the defendant between 2006
02:47:29     21    and 2009.
02:47:33     22                You heard three recorded phone calls between the
02:47:36     23    defendant and his supplier, Peter Flores, where the defendant
02:47:40     24    ordered 30 kilograms of cocaine. You saw the supplier's
02:47:45     25    cellphone and saw the contents of that cellphone, which lists
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02:47:49       1   the defendant as a contact and a Chicago phone number as the
02:47:54       2   only contact number in that phone.
02:47:57       3               You saw three cellphones from the defendant
02:48:01       4   customers -- from the defendant's customers and two SIM cards,
02:48:04       5   which list the defendant's nickname, Ron Ron, and his initials
02:48:08       6   and Chicago-area phone number.
02:48:11       7               You saw the defendant's phone records, which show
02:48:14       8   that the defendant called his supplier at the date and time
02:48:17       9   that the recorded calls took place. You saw the defendant's
02:48:21     10    vehicle records, which corroborate the insider testimony about
02:48:26     11    four of the defendant's cars. And you saw the defendant's
02:48:30     12    financial records, which show approximately $234,000 in cash
02:48:35     13    and payments with no legitimate source from which you can
02:48:38     14    infer came from the defendant's drug dealing.
02:48:43     15                Now, I'm going to turn to the evidence of the
02:48:46     16    defendant's actions that proves to you that he was in the
02:48:50     17    business of selling cocaine. This evidence comes from five
02:48:54     18    insiders, who have firsthand knowledge of the defendant's
02:48:58     19    cocaine conspiracy. Because a drug conspiracy is a secret
02:49:03     20    illegal business, its participants take precautions to avoid
02:49:07     21    getting caught.
02:49:08     22                Now, the defendant was a careful and cautious drug
02:49:12     23    dealer. You heard from the various insiders that he
02:49:14     24    frequently switched cellphones, he'd switch vehicles, and he
02:49:20     25    switched the locations of his drug transactions. Therefore,
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02:49:23       1   in order to provide you with an inside look into this secret
02:49:28       2   conspiracy, we have to call the insiders, the people who
02:49:31       3   delivered cocaine to the defendant and the people who bought
02:49:35       4   cocaine from the defendant.
02:49:36       5               Now, you heard during this trial that these insiders
02:49:39       6   are criminals and that they have admitted to dealing drugs,
02:49:43       7   but we told you that in the opening statement. And we told
02:49:47       8   you that these witnesses' testimony will be corroborated. But
02:49:51       9   we didn't pick these witnesses. The defendant picked these
02:49:55     10    witnesses, when he decided to obtain hundreds of kilograms of
02:49:58     11    cocaine from them and also to sell them cocaine during the
02:50:02     12    charged conspiracy.
02:50:03     13                Now, four of those insiders are the drug couriers:
02:50:09     14    Daniel Torres, Antonio Aguilera, Jorge Llamas, and Cesar
02:50:15     15    Perez. Each of these insiders testified that they worked for
02:50:18     16    the Flores brothers by delivering kilograms of cocaine to each
02:50:22     17    of their customers. And each of these four drug courier
02:50:26     18    witnesses met with the defendant face-to-face multiple times
02:50:29     19    to deliver to him multiple kilos of cocaine.
02:50:33     20                The fifth insider is the defendant's drug customer,
02:50:36     21    Robert Gregory, who has no relation with those four drug
02:50:40     22    couriers nor does he know them. Robert Gregory testified that
02:50:46     23    he purchased nine-ounce to four-kilogram quantities of cocaine
02:50:50     24    from the defendant between 2006 and 2009.
02:50:54     25                Now, each of these insiders have pleaded guilty to
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02:50:57       1   their conduct and Torres, Perez, Llamas, and Gregory have
02:51:03       2   received benefits from the Government, namely, a plea
02:51:07       3   agreement calling for a reduced sentence in exchange for their
02:51:11       4   truthful cooperation.
02:51:12       5               I expect that Judge Kendall will instruct you that
02:51:16       6   you must consider the testimony of these witnesses with
02:51:20       7   caution and great care. And you certainly should. This is a
02:51:24       8   criminal case and a lot is at stake. But you should also
02:51:29       9   consider the testimony of these witnesses in light of all of
02:51:32     10    the other corroborating evidence that you have seen: the
02:51:36     11    cellphone evidence, the phone records, the defendant's
02:51:39     12    recorded calls to his supplier, and the financial records
02:51:42     13    which show the money that he made from his cocaine business.
02:51:48     14                Now, the defendant obtained his supply of cocaine by
02:51:52     15    meeting these four drug courier witnesses in and around
02:51:56     16    Chicago. Each of the witnesses testified to meeting the
02:51:59     17    defendant in parking lots and garages in the suburbs and in
02:52:03     18    downtown Chicago, all testifying to common locations.
02:52:09     19                Now, witnesses Danny Torres and Antonio Aguilera both
02:52:14     20    recalled meeting the defendant at a pool hall which they
02:52:17     21    identified in this exhibit. They delivered the cocaine to the
02:52:21     22    defendant by exchanging their vehicles, which were already
02:52:26     23    loaded with cocaine in the hidden compartments.
02:52:29     24                Insider Aguilera specifically remembered 50 kilograms
02:52:32     25    of cocaine twice to the defendant at this pool hall. Now,
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02:52:37       1   Torres testified during the times he met the defendant at the
02:52:39       2   pool hall, the defendant was driving an Audi, an Infiniti
02:52:44       3   vehicle. And Aguilera recalled seeing the defendant both at
02:52:48       4   the pool hall and across the street from a fire station on
02:52:51       5   West Monroe driving a Jeep Grand Cherokee.
02:52:57       6               Now, you saw in Government Exhibit's Auto 1 that the
02:53:01       7   defendant is the insurance policyholder of a 2004 Audi A8 and
02:53:06       8   the defendant also is the -- also is connected to the 2002
02:53:10       9   Jeep Grand Cherokee where the policyholder is Carolyn Collins
02:53:17     10    at that same Throop address, which is connected to the
02:53:20     11    defendant in the bank records, mortgage records, and auto loan
02:53:24     12    records.
02:53:24     13                Now, the defendant's vehicle records also corroborate
02:53:26     14    the testimony of insider Cesar Perez. Government Auto 1
02:53:32     15    showed that the defendant is the insurance policyholder of a
02:53:35     16    2006 Land Rover, as well as the policyholder for a 1998 Lexus.
02:53:42     17    You remember hearing Cesar Perez talking about the times he
02:53:45     18    met the defendant and him having different cars, specifically
02:53:48     19    a Range Rover and a Lexus.
02:53:52     20                Now, insider Aguilera's testimony also overlapped
02:53:55     21    with that of Cesar Perez, as well as insider Jorge Llamas. In
02:54:02     22    terms of Perez, both Aguilera and Perez testified to meeting
02:54:05     23    the defendant in an area on West Monroe across from a fire
02:54:10     24    station. And, again, Aguilera remembered delivering twice
02:54:14     25    50 kilograms of cocaine to the defendant at this location.
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02:54:19       1               Aguilera's testimony also overlaps with that of Jorge
02:54:24       2   Llamas in that they both recalled meeting the defendant at
02:54:26       3   this high-rise building at this intersection of 13th and
02:54:32       4   Prairie in the South Loop area of Chicago.
02:54:34       5               Now, during Aguilera's meeting with the defendant, he
02:54:37       6   testified he drove into the building's parking garage and he
02:54:40       7   gave the defendant a duffle bag holding 35 kilos of cocaine.
02:54:44       8   And Llamas twice met the defendant in this area to pick up
02:54:47       9   duffle bags filled with cash for previous deliveries of
02:54:51     10    cocaine. The first cash pickup was five figures, and that
02:54:54     11    second cash pickup was six figures.
02:54:57     12                Now, insiders Perez and Torres both recalled meeting
02:55:03     13    the defendant in areas near downtown Chicago off of Indiana
02:55:07     14    and Michigan Streets. Remember, Torres testified that during
02:55:12     15    his meeting with the defendant on Indiana, the defendant
02:55:15     16    relocated his vehicle three different times before parking and
02:55:20     17    taking custody of a duffle bag filled with cocaine. The
02:55:24     18    defendant was careful and cautious in his movements relocating
02:55:29     19    his car to an area where he thought he would not be detected.
02:55:33     20                And the fifth common location is between Perez and
02:55:37     21    Llamas at the Outback Steakhouse where both remembered meeting
02:55:42     22    the defendant there to deliver cocaine to him. Now, in
02:55:47     23    addition to meeting the defendant in most of the same
02:55:49     24    locations, the insider drug couriers also testified to
02:55:52     25    delivering cocaine to the defendant in the same way.
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02:55:56       1               They loaded up the hidden compartments in their
02:56:00       2   vehicle with cocaine. They met the defendant at a particular
02:56:03       3   location. They turned over their car keys to the defendant,
02:56:05       4   and he took custody of their car and drove away.
02:56:08       5               Other times the defendant kept it simple. He simply
02:56:12       6   just took a duffle bag of cocaine from the insider drug
02:56:16       7   couriers or he allowed them to put the duffle bag in his back
02:56:20       8   seat before they drove away.
02:56:22       9               When the defendant exchanged vehicles with these
02:56:25     10    insiders, you heard the testimony that when he returned the
02:56:28     11    car, the hidden compartment was empty of cocaine and sometimes
02:56:32     12    filled with bundles of cash for previous cocaine deliveries.
02:56:37     13                Now, it is true that Torres and Aguilera recalled the
02:56:42     14    details of their deliveries to the defendant differently at
02:56:45     15    the pool hall. Torres remembered traveling by himself to the
02:56:51     16    pool hall to deliver cocaine, and Aguilera remembered
02:56:55     17    traveling with Torres at least once to the defendant to
02:56:58     18    deliver cocaine. But what's important about their testimony
02:57:00     19    is that they both identified the defendant as the person they
02:57:04     20    met at that pool hall to deliver cocaine to him.
02:57:06     21                Now, Perez and Llamas also remember their trips to
02:57:10     22    the Outback Steakhouse differently. Perez remembers traveling
02:57:15     23    to the steakhouse with Torres, and Llamas remembers traveling
02:57:20     24    to the steakhouse with Perez. However, what they both
02:57:21     25    remember -- and what is important -- is that they both saw the
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02:57:23       1   defendant inside of the restaurant, before they came outside
02:57:26       2   to give him the kilograms of cocaine.
02:57:29       3               Now, use your common sense. People remember things
02:57:32       4   differently. But these witnesses remembered the important
02:57:37       5   things -- and that's that they met the defendant to deliver
02:57:40       6   him cocaine at various locations around Chicago.
02:57:50       7               Now, you also heard from insider Robert Gregory, a
02:57:56       8   person who the defendant recruited as his drug customer at
02:58:00       9   this Lee's auto shop in early 2006. And remember the
02:58:04     10    defendant's credit card statements. It showed at least two
02:58:07     11    payments by him for charges at Lee's.
02:58:10     12                Now, you heard Robert Gregory testify about how the
02:58:14     13    defendant approached him when they were at the auto shop. The
02:58:18     14    defendant had just bought food for everyone in the shop and he
02:58:22     15    walked over to Gregory.
02:58:23     16                He saw that Gregory was getting work done on his BMW
02:58:28     17    528, and he asked him a few questions, starting with, Where
02:58:32     18    are you from? Gregory responded and said that he was from
02:58:36     19    Milwaukee. The defendant followed up and asked Gregory, What
02:58:40     20    did he do? Now Gregory, who had been in the drug game for
02:58:43     21    nearly ten years at this point, knew what the defendant was
02:58:46     22    talking about. But he wasn't going to announce in the middle
02:58:50     23    of the auto shop that he sold cocaine for a living.
02:58:53     24                So Gregory responded, I do my thing. The defendant
02:58:59     25    then asked Gregory, How much do they go for up there, meaning
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02:59:03       1   how much do kilograms of cocaine sell for in Milwaukee.
02:59:07       2   Gregory responded 19, meaning $19,000 per kilogram.
02:59:14       3               Gregory's answer was within the range of the price of
02:59:18       4   cocaine at that time, as testified to by Lieutenant Coleman,
02:59:23       5   between $17,000 and $25,000, both in the Chicago and Milwaukee
02:59:28       6   area.
02:59:29       7               Now, after the defendant learned that Gregory was --
02:59:33       8   what he was paying for cocaine in the Milwaukee area, he
02:59:36       9   seized on the chance to get a new customer. What did he say
02:59:40     10    to Gregory next? I can do better than that. The defendant
02:59:45     11    can sell Gregory cocaine for a better price than $19,000 per
02:59:50     12    kilo.
02:59:51     13                At that point the defendant and Gregory exchanged
02:59:53     14    phone numbers and Gregory stored the defendant's name under
02:59:57     15    Ron in his cellphone. And the next day he called him, Gregory
03:00:02     16    called the defendant, and he came back to Chicago to arrange
03:00:05     17    the purchase of cocaine.
03:00:07     18                But it didn't start off with business right away.
03:00:10     19    When Gregory came back to Chicago, the defendant, who was
03:00:13     20    wearing platinum and diamond jewelry, drove Gregory to dinner
03:00:18     21    in the Defendant's BMW 645, and at dinner he introduced
03:00:26     22    Gregory to his friends and then the defendant paid for dinner.
03:00:28     23    After dinner the defendant asked Gregory how much he could
03:00:31     24    buy, referring to cocaine, and Gregory said that he could buy
03:00:33     25    nine ounces or nine. And so began the defendant's drug
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03:00:38       1   conspiracy with Robert Gregory to sell him cocaine.
03:00:43       2               Now, as you heard from Gregory, over the next three
03:00:45       3   years he came to Chicago on a weekly and biweekly basis to buy
03:00:50       4   cocaine, starting off at nine ounces. Gregory quickly
03:00:54       5   increased that to half-kilogram-quantities of cocaine that he
03:00:58       6   was buying from the defendant.
03:01:00       7               By the time Gregory stopped buying from the defendant
03:01:03       8   in early 2009, he was buying between two and four kilograms of
03:01:09       9   cocaine at a time from the defendant. The defendant conducted
03:01:13     10    these transactions with Gregory all over Chicago, at Lee's,
03:01:17     11    downtown on Wabash, out in the suburbs of Dolton, and even at
03:01:22     12    a rest stop off the highway.
03:01:25     13                Now, like the other insiders in this case, you must
03:01:28     14    consider the testimony of Gregory with caution and great care.
03:01:33     15    However, you must also consider it in light of all of the
03:01:36     16    other corroborating evidence in this case.
03:01:39     17                Now, Gregory told you that he used several
03:01:44     18    cellphones, SIM cards, and phone numbers to stay in touch with
03:01:47     19    the defendant. And during this trial we showed you three of
03:01:51     20    those phones and two of those SIM cards, and we also showed
03:01:55     21    you the results of analyst Nicole Smith's search of those SIM
03:01:59     22    cards and cellphones.
03:02:00     23                And let's take a look at what she found. In
03:02:06     24    Government Exhibits Phone 2 and Phone 3, which Gregory
03:02:10     25    identified as phones he used to contact the defendant, she
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03:02:15       1   found a 773 Chicago area number for the defendant, and the
03:02:18       2   name Ron, which is what Gregory testified he stored the
03:02:22       3   defendant's name in, when he first met him at Lee's in early
03:02:24       4   2006.
03:02:25       5               This 773 number is also the same number listed on the
03:02:30       6   defendant's mortgage records. There is his name, the 773
03:02:34       7   number, and his signature, Ron Collins.
03:02:37       8               We also showed you Government Exhibit 4, which
03:02:40       9   Gregory identified as a phone that he used to contact the
03:02:44     10    defendant. In that phone was the number 708 -- an area code
03:02:48     11    for the Chicago suburban area. You also found the name RR,
03:02:53     12    the defendant's initials for Ron Ron. Gregory testified that
03:02:58     13    the defendant programmed his name as RR in the phones that the
03:03:02     14    defendant gave Gregory to contact him.
03:03:05     15                You also saw two SIM cards that were recovered by law
03:03:11     16    enforcement from Robert Gregory's mother's home, and the
03:03:14     17    analyst searched these SIM cards and found the same 773 number
03:03:19     18    for both SIM cards, but SIM Card 1 had the RR initials for Ron
03:03:24     19    Ron, and the second SIM card had the name Ron.
03:03:27     20                In addition, the analyst also searched SIM Card 1 and
03:03:32     21    found several text messages. These messages, as listed on
03:03:37     22    this exhibit, were incoming text messages from the contact
03:03:41     23    name RR to the SIM card that was found in Robert Gregory's
03:03:45     24    mother's home.
03:03:46     25                The range of these text messages is from July 2006
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03:03:50       1   and August 2006, the first year of the defendant's drug
03:03:54       2   conspiracy relationship with Robert Gregory. Some of the
03:04:02       3   texts the defendant sent Gregory are highlighted: How long?
03:04:02       4   So what time you going to come? When you coming? I need you
03:04:06       5   to come to bring that change and come back tomorrow.
03:04:09       6               In these messages the defendant is reaching out to
03:04:12       7   Gregory to arrange his pickup of cocaine in Chicago. And in
03:04:16       8   that very last text that's highlighted, he's arranging for
03:04:20       9   Gregory to bring him his money that he said for the previous
03:04:24     10    cocaine delivery that Gregory received.
03:04:28     11                We also showed you the results of the pen register
03:04:31     12    data and phone records obtained for the 773 number that was
03:04:35     13    found on the defendant's mortgage records. This number was in
03:04:40     14    contact with the 414 number found on Government Exhibits
03:04:46     15    Phones 2 and 3. These -- this pen register data corroborates
03:04:50     16    the testimony of Robert Gregory in terms of the frequency of
03:04:55     17    contacts between the defendant's phone number and the phone
03:04:58     18    Gregory used to contact the defendant.
03:05:03     19                As shown in this chart, there are a total of 153
03:05:07     20    calls between January 2007 and June 2009, with the highest
03:05:12     21    number of calls occurring between the time period between
03:05:14     22    October 2007 and January 2008, with 31 being the highest
03:05:19     23    number of contacts in January of 2008.
03:05:23     24                The defendant was in touch with Gregory so
03:05:26     25    frequently, so he could arrange additional purchases of
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03:05:30       1   cocaine. The defendant was not in touch with Gregory about a
03:05:34       2   transaction for a VW Jetta.
03:05:38       3               Now, Robert Gregory's cellphones, the SIM cards, the
03:05:43       4   search of those devices, and the pen register data and phone
03:05:47       5   records for those phone numbers are all corroborating pieces
03:05:50       6   of evidence that defense counsel told you in his opening
03:05:53       7   statement you wouldn't see when you heard the testimony of the
03:05:56       8   insider witnesses.
03:05:57       9               This evidence is also important because it shows you
03:06:00     10    that you can believe the testimony of Robert Gregory when he
03:06:04     11    identified the defendant as the person he knew as Ron Ron and
03:06:08     12    from whom he purchased multi-kilogram-quantities of cocaine
03:06:12     13    over a three-year period.
03:06:17     14                Now, so far I've summarized the testimony of the
03:06:21     15    insider witnesses that you've heard from during this trial.
03:06:25     16    That testimony showed how the defendant obtained his
03:06:27     17    multi-kilogram-quantities of cocaine and how the defendant
03:06:31     18    turned around and redistributed that to his customers.
03:06:35     19                But, of course, that's not the only evidence that
03:06:38     20    you've seen in this case. You also have the three recorded
03:06:41     21    phone calls that the defendant made to his supplier, when he
03:06:46     22    was ordering 30 kilograms of cocaine in November of 2008.
03:06:51     23                Now, you know it's the defendant speaking on those
03:06:55     24    calls from several pieces of evidence. First, you heard from
03:06:59     25    Agent Durante that he interviewed the defendant for 45 minutes
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03:07:03       1   and then he sat down and listened to the recorded calls made
03:07:06       2   by Peter Flores. And after comparing the voices on those
03:07:10       3   calls, he determined that the defendant was the other speaker
03:07:13       4   on the calls recorded by Flores.
03:07:16       5               You also heard from Agent Bagley who testified that
03:07:19       6   he listened to 20 to 25 separate recordings of the defendant's
03:07:24       7   voice and also listened to the three recorded phone calls from
03:07:28       8   November 2008 made by Peter Flores. And after listening to
03:07:32       9   those two sets of recordings, he determined that the defendant
03:07:35     10    on those 20 to 25 jail calls was also the same person speaking
03:07:42     11    to Peter Flores on those three November calls.
03:07:45     12                In addition to the voice identification, you have the
03:07:47     13    content of Government Exhibit Phone 1, which was the phone
03:07:51     14    turned over by Peter Flores. The search of that phone
03:07:53     15    revealed that there was one contact under the name Ron Ron
03:07:57     16    associated with a 773 number, which we know is for Chicago.
03:08:02     17                The name Ron Ron is also the same name that those
03:08:08     18    five insider witnesses identified the defendant as, for the
03:08:12     19    person for whom they met and picked up or either delivered to
03:08:16     20    multi-kilogram-quantities of cocaine.
03:08:19     21                We showed you the phone records for that 773 number
03:08:23     22    that was found in the supplier's phone, and those records list
03:08:28     23    the three phone calls on the recordings on the very dates and
03:08:32     24    at the very times that they took place.
03:08:35     25                Now, the lack of subscriber information for these
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03:08:38       1   phone records does not undermine the fact that it was the
03:08:42       2   defendant who used this pre-paid phone to order 30 kilos. Of
03:08:46       3   course, the defendant would not use a phone in his own name to
03:08:49       4   call his drug supplier and order cocaine. Again, remember,
03:08:53       5   the defendant was careful and cautious. He frequently
03:08:56       6   switched phones, as testified to by the witnesses Perez,
03:09:00       7   Llamas, and Aguilera, who delivered these phones to the
03:09:04       8   defendant, so that he could contact the Flores brothers.
03:09:07       9               So you had the agent's voice identification of the
03:09:10     10    defendant. You have the content of Phone 1, which was used to
03:09:14     11    make or to record the calls. And you have the phone records
03:09:17     12    themselves, of that 773 number, that all establish that the
03:09:21     13    defendant was the speaker on those November 2008 recordings.
03:09:33     14                Now, let's review what the defendant said during
03:09:35     15    those calls that showed beyond a reasonable doubt that the
03:09:39     16    defendant was a knowing participant in a conspiracy to sell
03:09:44     17    cocaine. You'll have the recordings back in the jury room
03:09:48     18    with you, and you'll have an opportunity to listen to them and
03:09:51     19    further review them as you consider the charge in this case.
03:09:53     20                These calls are important, because they show a clear
03:09:59     21    picture of the defendant's cocaine business. It also
03:10:02     22    establishes the defendant's conspiracy with his supplier to
03:10:06     23    obtain large quantities of cocaine.
03:10:10     24                And remember when you're listening to these calls,
03:10:14     25    the defendant didn't know he was speaking into a digital
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03:10:17       1   recorder. The defendant thought he was talking to someone he
03:10:21       2   could trust.
03:10:21       3               Now, in the November 25th call at 12:23 p.m., the
03:10:29       4   defendant orders 30 kilos of cocaine. Flores says: If I give
03:10:34       5   them to you for like 28, how many do you think you want? Now
03:10:38       6   you know from the testimony of Lieutenant Coleman and the
03:10:41       7   context of this call that Flores is referring to $28,000 per
03:10:46       8   kilogram.
03:10:48       9               In response, the defendant again is talking to
03:10:51     10    someone in the background and he says, Hey, if I give this to
03:10:55     11    you for like 29,5, and later, a dub? How many?
03:11:01     12                Here, the defendant is responding to the offer of
03:11:07     13    $28,000 per kilo by talking to his own customer in the
03:11:10     14    background and offering him a price of $29,500 per kilo. By
03:11:14     15    increasing the price by $1500, the defendant is guaranteed to
03:11:19     16    make a profit from the sale of that cocaine.
03:11:21     17                Now, later in the call you hear the defendant say, A
03:11:24     18    dub, which Lieutenant Coleman said, based on the content of
03:11:27     19    this call and his training and experience, means 20 kilos of
03:11:31     20    cocaine. You also know from the content of the call that the
03:11:34     21    customer has just responded to the defendant's offer of 29,5.
03:11:39     22                And in response, he said that he would take 20 kilos
03:11:44     23    of cocaine at that price. So in this call the defendant has
03:11:47     24    just agreed to sell his customer 20 kilos of cocaine at
03:11:52     25    $29,500.
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03:12:01       1               Now, later in the call the defendant, who is assured
03:12:01       2   by his customer's representation that he can buy 20 kilos of
03:12:03       3   cocaine, tells Flores, Give me 30 up front, and I know I got a
03:12:06       4   lot of other people that can help me run through them. Now,
03:12:10       5   here the defendant has just ordered 30 kilograms of cocaine
03:12:13       6   from Flores. Lieutenant Coleman testified that when a drug
03:12:17       7   buyer has a relationship with his drug supplier, it's common
03:12:20       8   for that supplier to front or provide the drugs on credit.
03:12:25       9               When the defendant says, Up front, he's not
03:12:29     10    hesitating to demand 30 kilos of cocaine on credit less than a
03:12:35     11    minute into their conversation. This shows that the defendant
03:12:37     12    is not a new customer and he's used to receiving his cocaine
03:12:41     13    without having to pay for it on delivery.
03:12:43     14                This payment method is also consistent with what you
03:12:47     15    heard from the insider drug couriers, who said that every time
03:12:52     16    they delivered cocaine to the defendant, they did not always
03:12:55     17    receive money from him back.
03:12:58     18                Now, the defendant later tells Flores in this call
03:13:01     19    that he has a lot of customers who can help him run through or
03:13:05     20    sell the 30 kilos of cocaine. This is important because it
03:13:09     21    shows that the defendant plans to repay his supplier after he
03:13:14     22    has resold that 30 kilos to his customers.
03:13:19     23                Now, five days later on November 30th, the defendant
03:13:23     24    arranges a payment date for the cocaine that he ordered on
03:13:28     25    November 25th. The defendant says, Just send me 30 of them,
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03:13:33       1   give me about seven days. Seven days, that's all the
03:13:37       2   defendant needed to sell 30 kilograms of cocaine. And as
03:13:41       3   you'll recall from Lieutenant Coleman's testimony,
03:13:45       4   30 kilograms is the equivalent of approximately 30,000 dosage
03:13:49       5   units.
03:13:51       6               Flores continues, No, man, I'll send you -- I'll send
03:13:57       7   you a dub, yo, I'm not going to send you 30. And in response
03:14:00       8   the defendant says, Okay, then, all right, all right, that's
03:14:03       9   cool, just send me a dub and I'll be straight in seven days.
03:14:08     10    The defendant finally agrees to accept just 20 kilos of
03:14:13     11    cocaine from his supplier, and he tells him that he'll be
03:14:16     12    straight, or he'll have his supplier's money, in seven days.
03:14:20     13    This portion of the call also shows that the defendant did not
03:14:23     14    plan to pay for the 20 kilos until after he -- his own
03:14:23     15    customers.
03:14:26     16                Now let's be clear when you listen to this portion of
03:14:29     17    the call. The defendant was settling on 20 kilos of cocaine.
03:14:33     18    He wanted a much larger quantity. And as other portions of
03:14:37     19    the recorded call showed you he was used to getting much
03:14:41     20    larger quantities from his supplier.
03:14:44     21                Back to the November 25th call at 12:23. The
03:14:50     22    defendant says to his supplier, Like when you used to give me
03:14:54     23    like 50 or 60 at a time, 50 like that, I used to give him like
03:14:59     24    15. You see what I'm saying? 50 or 60 at a time. The
03:15:04     25    defendant has just told you that he previously has received 50
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03:15:08       1   or 60 kilograms of cocaine per delivery from his supplier.
03:15:14       2               This call corroborates the testimony of insider
03:15:18       3   Antonio Aguilera, who told you that he remembered delivering
03:15:23       4   50 kilograms of cocaine to the defendant on at least four
03:15:28       5   occasions. Now, of the 50 or 60 kilos that the defendant is
03:15:31       6   referencing in this part of the call, he gives 15 kilos to
03:15:34       7   just one of his customers. These are the defendant's words on
03:15:38       8   the recordings, no one else's. These are the words that the
03:15:42       9   defendant said when he didn't know that his call was being
03:15:46     10    recorded.
03:15:47     11                The defendant continues in this same call, What took
03:15:51     12    me so long, I was handling, giving people out one or two at a
03:15:54     13    time. I wasn't about to rush, man, because my people wasn't
03:15:58     14    like that, so people couldn't be replacing it. You see what
03:16:02     15    I'm saying? So this shows that by November of 2008, business
03:16:07     16    had slowed for the defendant and he was only distributing one
03:16:09     17    to two kilograms of cocaine at a time as opposed to the
03:16:13     18    15 kilos he had previously been able to give to his customers.
03:16:16     19                And so defendant says next in the call, I used to
03:16:19     20    back then, I had some money to replace it myself, so I was
03:16:24     21    giving him 10, 15 at a time. Here, the defendant is talking
03:16:27     22    about an earlier time where he was able to give out 10 to
03:16:32     23    15 kilos of cocaine to one of his customers on credit and
03:16:36     24    after giving out that amount of cocaine, the defendant had the
03:16:39     25    money to replenish his supply before he was repaid by that one
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03:16:44       1   customer.
03:16:44       2               Now, this excerpt of the call shows the defendant's
03:16:48       3   relationship with his own customers where he gives them
03:16:51       4   kilograms of cocaine on credit, just like Robert Gregory
03:16:55       5   testified. This excerpt is also important, because it's
03:17:00       6   additional evidence that the defendant conspired with his
03:17:02       7   customers to sell them cocaine on credit.
03:17:05       8               Now, so far the defendant's statements in these calls
03:17:09       9   have shown several things: the type of the defendant's drug
03:17:13     10    business; the quantities of cocaine that he was supplied; and
03:17:15     11    the price that he paid his supplier per kilogram. These calls
03:17:23     12    also plainly state the amount that the defendant profited from
03:17:27     13    his sale of cocaine.
03:17:28     14                Later in the same November 25th call, the defendant
03:17:31     15    says, I can do the numbers, but the numbers was ridiculous.
03:17:35     16    And then it wasn't no room for nobody else to make no money,
03:17:40     17    because if I try to get me 1500 off each one of them, that's
03:17:43     18    all I'm trying to get me, 1500.
03:17:47     19                Here, the defendant is trying to convince his
03:17:49     20    supplier that he can sell the cocaine at the supplier's price
03:17:53     21    per kilogram. But the defendant also tells his supplier that
03:17:57     22    because he himself has to profit $1500, it makes it harder for
03:18:02     23    his customers to make money when they have to sell it at a
03:18:05     24    higher price to their customers, a higher price than what they
03:18:09     25    bought it for from the defendant.
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03:18:11       1               Now, you saw the evidence of the defendant's drug
03:18:13       2   profits during the financial record presentation in this case.
03:18:19       3   In Summary 3A we showed you total cash deposits of
03:18:25       4   approximately $37,105 that the defendant made into his Chase
03:18:32       5   checking account in increments between $200 all the way up to
03:18:38       6   $4500. This means that the defendant had at least $37,105 as
03:18:44       7   cash in hand between the time period of August of 2006 and
03:18:49       8   April 2009.
03:18:53       9               You also saw evidence of the defendant's nearly
03:18:57     10    $200,000 in expenditures over a three-year period through
03:19:02     11    payments that could not be paid -- that could not be traced to
03:19:06     12    any legitimate source. Summaries 3C through 3J totaled all of
03:19:13     13    the payments that the defendant made to these various areas,
03:19:17     14    and it reached a total of $197,107.52 that could not be traced
03:19:23     15    to the defendant's bank account.
03:19:25     16                Now, remember, the defendant also filed no tax
03:19:28     17    returns during the charged conspiracy, nor did the IRS find
03:19:32     18    any record of any wages or income reported by others as paid
03:19:36     19    to the defendant.
03:19:40     20                Now, from this evidence you can reasonably infer that
03:19:43     21    the cash deposits and the defendant's payments summarized in
03:19:47     22    Summary Chart 3K show at least $234,213.08 in money that came
03:19:54     23    from the defendant's drug dealing.
03:19:57     24                Now, returning back to this November 25th call at
03:20:01     25    12:23 p.m., the defendant is reassuring his supplier that he
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03:20:06       1   can sell the cocaine at the price offered by the supplier.
03:20:11       2   Flores says, G, I'm behind on some paper, dog, and I just, I'd
03:20:15       3   rather push them off a little bit cheaper and try and get some
03:20:18       4   money back.
03:20:20       5               The defendant responds, Whody, I'm trying. You know
03:20:24       6   what I'm capable of doing. You know what I have did before.
03:20:30       7   When Flores doesn't offer a different price per kilo, the
03:20:33       8   defendant responds that he's trying. He's trying to sell the
03:20:37       9   cocaine, so he can pay Flores his money. And to make sure
03:20:40     10    that Flores believes him, the defendant reminds Flores of what
03:20:44     11    he's capable of doing and what he's done before. The
03:20:47     12    defendant stands by his reputation of being able to sell large
03:20:51     13    quantities of cocaine and being able to sell it quickly. And
03:20:55     14    he wants to make sure that his supplier remembers that.
03:20:58     15                Like the defendant says next in the call, I can do
03:21:01     16    the numbers, that ain't no problem. About an hour after this
03:21:06     17    call on November 25th, 2008, the defendant calls Flores back
03:21:12     18    to find out when he will be getting his cocaine. The
03:21:18     19    defendant says, Hey, hey, when you think so, though? In
03:21:22     20    response Flores says, It should be tomorrow, for sure. The
03:21:26     21    defendant replies, All right. The defendant needs to know
03:21:29     22    when he can get his cocaine, so he can sell it to his
03:21:32     23    customers.
03:21:33     24                Now, you know from the recordings in this case and
03:21:36     25    the insider drug testimony that Robert Gregory was just one of
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03:21:41       1   the defendant's customers. Remember that while the defendant
03:21:44       2   was on the phone with Flores ordering the cocaine, he was
03:21:47       3   talking to another customer in the background offering to sell
03:21:51       4   him kilos at $29,500 per kilo.
03:21:55       5               The defendant also talks about his other customers
03:21:57       6   during this November 25th call. The defendant says, Now, you
03:22:03       7   know, when y'all don't see me, everybody trying to steal my
03:22:06       8   customers. You know what I'm saying? The people that I
03:22:10       9   F with or whatever but some of them loyal just ain't going to
03:22:13     10    go that route and F with other people. Here, the defendant
03:22:16     11    tells Flores that when he's not getting his cocaine from
03:22:20     12    Flores, his competitors try to go after the defendant's
03:22:24     13    customers. But the defendant also tells Flores that some of
03:22:26     14    his customers are loyal and they're not going to run off to
03:22:30     15    another cocaine supplier.
03:22:31     16                Now, in these recorded conversations, the defendant
03:22:36     17    has just provided a blueprint of his cocaine trafficking
03:22:40     18    business. The recording shows how the defendant contacts his
03:22:45     19    supplier by phone, how he negotiates the price per kilogram of
03:22:50     20    cocaine, how he orders a specific amount of cocaine, how he
03:22:59     21    arranges the pickup of that cocaine, and how he schedules
03:23:02     22    payment for the cocaine that he's ordered.
03:23:05     23                These recordings also corroborate the testimony of
03:23:08     24    those insider witnesses that you heard from that the defendant
03:23:12     25    picks up his kilograms of cocaine and he turns around and
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03:23:15       1   sells it to his own customers. These calls are also
03:23:19       2   important, because they establish that the defendant had a
03:23:22       3   prior relationship with his supplier in which the defendant
03:23:26       4   was used to obtaining large quantities of cocaine.
03:23:31       5               Now, in addition to the recordings and the insider
03:23:37       6   testimony, you have the evidence from Government Exhibit
03:23:40       7   Phone 1, that the defendant had been contacting Flores on that
03:23:43       8   phone since August 2008. Now, there are no contacts before
03:23:48       9   that, because as you heard from the insiders, Flores
03:23:51     10    frequently switched phones, and they were always delivering
03:23:55     11    new phones to Flores' customers so he could contact them. And
03:23:59     12    this was for the purpose of detecting -- of preventing and
03:24:04     13    avoiding detection by law enforcement.
03:24:08     14                Now, we showed you Government Exhibit Summary 1D,
03:24:15     15    which summarized the text messages that the defendant sent to
03:24:19     16    his supplier on Government Exhibit Phone 1 between the time
03:24:21     17    period of September and November of 2008.
03:24:25     18                Some of the highlighted messages read, Hit me. Yo.
03:24:29     19    What up? I need to holler at you. Yo. Hit me up. Now,
03:24:35     20    these are not normal text messages that you would send to your
03:24:39     21    friends or family members, rather, these messages are brief
03:24:42     22    and they are cryptic, with the defendant including just enough
03:24:46     23    information to get his supplier's attention.
03:24:51     24                We already know from the insider drug customers --
03:24:55     25    excuse me -- the insider drug couriers that the defendant had
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03:24:58       1   been buying cocaine from Flores from 2005. By the time of
03:25:02       2   these text messages in 2008, the defendant didn't need to be
03:25:06       3   any more explicit in his communications with his supplier.
03:25:10       4               The defendant also avoided including plainly
03:25:13       5   incriminating information in these messages, such as
03:25:17       6   referencing numbers or drug quantity. These messages are
03:25:23       7   important, because they show the defendant regularly reaching
03:25:27       8   out to his supplier to get more cocaine.
03:25:30       9               And the defendant was in touch with his supplier so
03:25:33     10    frequently because like the defendant stated in those
03:25:36     11    recordings, he could do the numbers. That wasn't a problem.
03:25:40     12    And what he meant in those recordings was that he could turn
03:25:44     13    around large quantities of cocaine and he could do it quickly.
03:25:47     14    Now, you know from the other evidence in this case what the
03:25:50     15    defendant is capable of and what he's done before.
03:25:54     16                So the evidence in this case has proven beyond a
03:25:57     17    reasonable doubt that the defendant was responsible for
03:25:59     18    conspiring to possess with intent to distribute and to
03:26:02     19    distribute hundreds of kilograms of cocaine. However, after
03:26:06     20    you find the defendant guilty, all you need to find is that
03:26:09     21    the defendant was responsible for at least five kilograms of
03:26:14     22    cocaine. Therefore, when you arrive to this portion of the
03:26:18     23    verdict form, we ask that you check the first box.
03:26:26     24                So in closing, you've heard eight categories of
03:26:30     25    evidence proving that the defendant conspired to possess and
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03:26:35       1   sell cocaine. You heard the insider testimony, you heard the
03:26:40       2   recorded phone calls between the defendant and his supplier.
03:26:44       3   You saw the supplier's cellphone and its contents. You saw
03:26:47       4   the defendant's customers' cellphones and its SIM cards. You
03:26:52       5   saw the defendant's phone records, vehicle records, and his
03:26:55       6   financial records.
03:26:56       7               All this evidence has shown that the defendant ran a
03:26:59       8   very profitable business that served multiple customers. But
03:27:03       9   the defendant's business savvy didn't lead him to Wall Street.
03:27:07     10    It didn't lead him to a listing in Forbes Magazine. It led
03:27:12     11    him right here to this courtroom today sitting before you.
03:27:16     12    Therefore, we ask that you return the only verdict commanded
03:27:18     13    by the proof in this case, and that is a verdict of guilty.
03:27:28     14                THE COURT: Mr. Rubino.
03:27:31     15                MR. RUBINO: Thank you, your Honor.
03:27:31     16                                         - - -
03:27:37     17                         MR. RUBINO, CLOSING ARGUMENT
03:27:37     18                MR. RUBINO: Good afternoon, ladies and gentlemen.
03:27:40     19    As the judge told you in the beginning of the case, the
03:27:43     20    defendant in any criminal trial, and in particular this trial,
03:27:47     21    is presumed innocent of all of the charges.
03:27:50     22                He's presumed innocent throughout the course of the
03:27:53     23    trial and, indeed, he's presumed innocent this very moment as
03:27:57     24    he sits here, Ron Collins, before you. The presumption of
03:28:03     25    innocence is only overcome when, and if and unless, you are
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03:28:11       1   satisfied beyond a reasonable doubt the Government has
03:28:15       2   fulfilled its burden, a burden that never shifts to the
03:28:20       3   defendant, Ron Collins.
03:28:22       4               Now, it's a heavy burden. It's particularly heavy in
03:28:25       5   this case. And as we go through what I contend the evidence
03:28:29       6   will show, you'll see that the Government has failed in its
03:28:33       7   attempt to prove Ron Collins guilty beyond a reasonable doubt.
03:28:39       8               Proof is not speculation. Proof is not conjecture.
03:28:44       9   Proof is not innuendos. Proof is not rumors, and certainly
03:28:51     10    proof is not hearsay. Proof is proof of hard, cold facts, and
03:28:59     11    it comes through the mouth of what? Of believable witnesses.
03:29:05     12                Not just witnesses, but believable witnesses.
03:29:13     13    Trustworthy witnesses, truthful witnesses, honest witnesses.
03:29:17     14    Witnesses that you can embrace and feel comfortable with their
03:29:22     15    testimony. Witnesses that you can say, That's the kind of
03:29:27     16    person that I can believe in.
03:29:30     17                That's not the kind of witnesses the Government
03:29:34     18    offered in this trial. These were not believable witnesses.
03:29:40     19    Think about this. Each and every one of you took an oath when
03:29:44     20    you first came here to become a juror, to be fair and to judge
03:29:48     21    this case without prejudice, without fear, without favor to
03:29:53     22    the Government or the defendant, but solely on the evidence,
03:29:57     23    the quality of the evidence, not conjecture, not speculation,
03:30:02     24    not innuendo, not rumor, not hearsay, but high-quality
03:30:10     25    evidence.
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03:30:10       1               The defendant, although -- and Ron Collins
03:30:13       2   specifically -- begins the trial with a clean slate. There's
03:30:17       3   no evidence against him. The law permits nothing but legal
03:30:21       4   evidence. And you have the right to judge that evidence.
03:30:29       5               The presumption of innocence alone is sufficient to
03:30:32       6   acquit Ron Collins, unless you, the jurors, find beyond a
03:30:39       7   reasonable doubt, after careful and impartial consideration
03:30:42       8   and evaluation of all the evidence, that the Government has
03:30:46       9   proved [sic] beyond a reasonable doubt. If they haven't, you
03:30:52     10    must vote not guilty, not proved.
03:30:57     11                You know, you have the right to accept and believe
03:31:04     12    all of the evidence, some of the evidence, or none of the
03:31:07     13    evidence. Just because it comes from that witness stand, just
03:31:13     14    because it comes from a witness, doesn't mean you have to
03:31:17     15    believe it. It doesn't mean you have to embrace it. It
03:31:21     16    doesn't mean because they come up there, they speak only
03:31:26     17    truth. That's your job, to separate the lies from the truth
03:31:34     18    and believe the truth. That's part of your job.
03:31:39     19                The Government's not required to prove guilt beyond
03:31:42     20    all possible doubt. Of course not. The test is one of
03:31:46     21    reasonable doubt.
03:31:48     22                You, the jury, should remember that a defendant is
03:31:51     23    never to be convicted on mere suspicion, conjecture,
03:31:57     24    speculation, and least of all on the theory or assumption of
03:32:03     25    the Government. It's on the evidence. The burden is always
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03:32:13       1   on the Government, always on the prosecution to prove guilt
03:32:16       2   beyond a reasonable doubt. The burden never shifts to Ron
03:32:20       3   Collins. The law never imposes any burden on him to produce
03:32:23       4   any evidence or to call any witnesses.
03:32:27       5               That is the attitude you should have in the
03:32:30       6   presumption of innocence. You should be of a mind-set that
03:32:34       7   resists accusations that you have and you should have this
03:32:41       8   belief in them. You should insist that proof, solid proof,
03:32:46       9   quality proof from solid and quality witnesses be given to
03:32:55     10    you. Without that, you have reasonable doubt. You have not
03:32:59     11    guilty. You have not proved.
03:33:02     12                Your oath really requires nothing less from you that
03:33:06     13    you be a good juror. You have to think differently than you
03:33:11     14    ordinarily do in life, in your regular affairs. We're all
03:33:15     15    subject to suspicion. We hear a story. We have inclinations
03:33:20     16    to believe it. We hear rumors. The same thing. We believe
03:33:23     17    them. You can't do that here. You must check and challenge
03:33:27     18    every single thing that comes into this courtroom.
03:33:30     19                Especially when the evidence comes from criminals who
03:33:35     20    have a reason to lie, criminals trying to lessen their time in
03:33:41     21    prison. You, as a juror, have got to reverse that inclination
03:33:47     22    you have, a very human tendency, you've got to sit there and
03:33:52     23    resist just believing it because you hear it.
03:33:55     24                What does this mean? It means you've got to take
03:34:02     25    every piece of evidence and every word that comes from a
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03:34:06       1   witness and you've got to examine it. You've got to be
03:34:09       2   skeptical of it. You've got to be disbelieving of it. You've
03:34:13       3   got to turn it upsidedown, right-side up, and you've got to
03:34:17       4   look at every facet of it. And you've got to say, Is there
03:34:20       5   any taint to it? Is there anything wrong with it? Is this
03:34:24       6   something that I can believe in? Is this something that I can
03:34:26       7   embrace? Is this person the kind of person that I can accept
03:34:33       8   his word as truth?
03:34:36       9               And the one thing you can't do is jump to
03:34:40     10    conclusions. Just because the Government has a theory, that
03:34:45     11    doesn't make it true.
03:34:47     12                The presumption of innocence is a practical thing.
03:34:49     13    The presumption of innocence places the burden on the
03:34:52     14    Government, places it on one side and one side only. You
03:34:57     15    can't look at Ron Collins and say, But he didn't prove himself
03:35:02     16    innocent. But he didn't testify. But he didn't fight against
03:35:08     17    the accusations. He did fight against the accusations by
03:35:14     18    entering a plea of not guilty. He denied the accusations, and
03:35:19     19    he said to the Government, Prove it. And I say to you, they
03:35:24     20    haven't proven it. In other words, the presumption of
03:35:30     21    innocence says that the prosecution and only the prosecution
03:35:33     22    has that burden, because the defendant does not have to prove
03:35:37     23    innocence.
03:35:39     24                As the judge told you, the defendant is presumed
03:35:42     25    innocent and the defendant shall remain innocent throughout
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03:35:45       1   the entire trial, unless and until, you embrace that
03:35:51       2   testimony, you accept that testimony, you believe that
03:35:56       3   testimony, and you believe it beyond a reasonable doubt.
03:36:00       4               If you believe those five drug criminals beyond a
03:36:04       5   reasonable doubt, then you vote guilty for Ron Collins. But
03:36:08       6   if you question them, if you question their motives, if you
03:36:12       7   question their reasons, if you question their deals, if you
03:36:15       8   question their words, then you have a reasonable doubt and you
03:36:21       9   must vote not guilty, not proved.
03:36:27     10                You know, in this country no one should have their
03:36:30     11    liberty taken away, unless the prosecution offers proof beyond
03:36:35     12    a reasonable doubt. In other words, the presumption that Ron
03:36:40     13    Collins is innocent -- but you have to keep in mind throughout
03:36:44     14    this whole time -- is enough for you to rely upon, unless and
03:36:49     15    until they have knocked that presumption down to the point you
03:36:54     16    have no reasonable doubt.
03:36:58     17                You know, this calls upon you to break with your
03:37:00     18    ordinary thought patterns, because at the end of the case you
03:37:03     19    may have suspicion of guilt. You may think there's a
03:37:09     20    possibility of guilt. You may even think he's probably
03:37:16     21    guilty, maybe he's guilty, he's possibly guilty. But you have
03:37:22     22    to ask yourself, Do I have no reasonable doubt whatsoever that
03:37:30     23    he's guilty? Or do I think maybe he's guilty?
03:37:35     24                Well, maybe isn't good enough. Probably, isn't good
03:37:40     25    enough. Possibly, isn't good enough to take a man's liberty.
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03:37:45       1   It must be beyond reasonable doubt.
03:37:53       2               You know, oftentimes jurors have walked out of a
03:37:57       3   courtroom voting not guilty for someone they thought might
03:38:01       4   have committed the crime, maybe have committed the crime,
03:38:04       5   again, possibly could have committed the crime. Well, you
03:38:08       6   know, something? They have done their duty well. They
03:38:13       7   performed their job, because they didn't say, I have no
03:38:19       8   reasonable doubt of his guilt. There's a big difference in
03:38:25       9   maybe did, possibly did, he could have, than I have no
03:38:29     10    reasonable doubt. In order to vote guilty, you must have no
03:38:34     11    reasonable doubt.
03:38:37     12                Your function, actually, is a narrow function in law.
03:38:42     13    The question before you really is a question -- is not a
03:38:46     14    question of guilt or innocence. Nowhere on that verdict form
03:38:52     15    will you see a box for innocent, because Ron Collins doesn't
03:38:57     16    have to prove his innocence. The box says guilty, not guilty.
03:39:04     17    Not guilty means not proved. There's no third box. There's
03:39:10     18    no box for him to prove his innocence. Either they proved him
03:39:16     19    guilty or they didn't prove him guilty. That's the question
03:39:20     20    before you, the question -- and jurors stumble over this.
03:39:25     21    They think the verdict is guilty or innocent. It's not.
03:39:32     22    You'll see. It's guilty or not guilty.
03:39:33     23                So the sole question is, has the prosecution offered
03:39:37     24    enough evidence -- not in quantity, but in quality -- to make
03:39:43     25    you believe that you have no reasonable doubt as to Ron
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03:39:49       1   Collins' guilt in this case?
03:39:53       2               So we're engaged in this process. The question that
03:39:56       3   has been presented to you is, have they provided you -- and I
03:40:00       4   said this earlier -- with enough quality evidence from quality
03:40:04       5   witnesses, witnesses you could put your arms around and feel
03:40:09       6   good with, feel comfortable with, trust, believe in, witnesses
03:40:17       7   that you have no doubt about their honesty?
03:40:25       8               You know, I told you in my opening statement, the
03:40:27       9   federal government has charged Ron Collins with a crime, but
03:40:30     10    it's not the federal government that's accusing Ron Collins.
03:40:34     11    We all know that. If you remember my opening statement -- I
03:40:37     12    told you and it came true -- Ron Collins' accusers were not
03:40:42     13    the FBI agents, were not DEA agents, were not local police.
03:40:47     14    His accusers were not law enforcement officers. Not one law
03:40:55     15    enforcement officer testified in this courtroom that they saw
03:40:58     16    Ron Collins commit a crime.
03:40:59     17                Who are his accusers? We know who they were. They
03:41:05     18    were five criminals, delinquent drug dealers, people who were
03:41:10     19    trading testimony for freedom. As I told you in my opening
03:41:13     20    statement, not one federal agent, not one DEA agent, not one
03:41:18     21    local policeman would tell you that they ever saw Ron Collins
03:41:24     22    with drugs. Think about that. Has one Government agent taken
03:41:29     23    that witness stand and said to you, I observed him, Ron
03:41:33     24    Collins, with drugs? And the answer is no.
03:41:42     25                Has one federal agent told you that they conducted
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03:41:46       1   any type of surveillance and they saw Ron Collins with drugs,
03:41:52       2   near drugs, deal drugs, sell drugs, buy drugs? Have you heard
03:41:58       3   that? No, not from one federal agent or local law enforcement
03:42:05       4   officer. They haven't accused him. The five drug dealers are
03:42:11       5   the only accusers.
03:42:14       6               No one testified that they did an undercover buy from
03:42:18       7   Ron Collins. No one testified that Ron Collins got them
03:42:22       8   drugs, delivered them drugs, transported them drugs, not one
03:42:27       9   Government agent told you this.
03:42:31     10                They also told you that they found no physical
03:42:38     11    evidence. They seized no drugs from Ron Collins' house. They
03:42:42     12    seized no drugs from Ron Collins' car. They seized no drugs
03:42:45     13    from Ron Collins' person on the day of his arrest. In fact,
03:42:51     14    there is not one microscopic drop of drugs in this courtroom.
03:42:59     15    There's been a lot of talk about drugs, but have you seen one
03:43:04     16    seizure by any Government agent of one microscopic drop of
03:43:09     17    drugs from him or anyone else for that matter? You've seen no
03:43:14     18    drugs in this courtroom, and you're not going to. It's over.
03:43:18     19    It's too late now. And trust me, if they had them, you would
03:43:21     20    have seen them.
03:43:24     21                I told you this in opening too. Think about this.
03:43:28     22    With all the modern science, the tools available to the
03:43:31     23    federal government, I mean, they've got satellite tracking,
03:43:36     24    they've got satellite photography, GPS, aircraft, helicopters,
03:43:41     25    surveillance on foot, surveillance by automobile, I mean,
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03:43:45       1   they've got it all. And with all of those resources and with
03:43:49       2   all of that scientific evidence not one time was Ron Collins
03:43:56       3   surveilled, followed, or observed buying drugs, selling drugs,
03:44:03       4   near drugs, with drug people. Nothing. Nothing.
03:44:08       5               You haven't seen the face of Ron Collins on any
03:44:11       6   photo. You haven't seen any videos of him doing any drug
03:44:14       7   deals. None. You haven't seen any of that, because none of
03:44:19       8   it existed. There was not one piece of scientific evidence
03:44:23       9   introduced in this courtroom against Ron Collins.
03:44:27     10                Couple that with no observations by law enforcement
03:44:30     11    of him committing any crime whatsoever. All you have heard
03:44:38     12    was the unsupported, uncorroborated, untested, unproven,
03:44:43     13    unreliable word of five criminals trying to save their skin.
03:44:50     14    Yeah, a bunch of criminals took the witness stand and said,
03:44:54     15    Ron's involved in drugs. We know this because we're a bunch
03:44:58     16    of criminals. And you could believe us because, you know,
03:45:01     17    we'd rather spend the rest of our life in prison and die there
03:45:08     18    before we would lie to you. That was the biggest lie you
03:45:11     19    heard in this courtroom.
03:45:12     20                Come on. These people will do and say anything they
03:45:16     21    have to or can do to get out of prison. They didn't provide
03:45:20     22    you any times, any dates, any details. It's just wave their
03:45:26     23    hand and say, It happened. Nobody backed them up. To the
03:45:30     24    contrary, they didn't corroborate each other. They tripped
03:45:33     25    over each other. They couldn't get their story straight.
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03:45:36       1               Now, let's talk about that. First witness, Daniel
03:45:41       2   Torres, he pled guilty to distributing cocaine. He admitted
03:45:49       3   to more than a thousand kilos of cocaine. He tells you, as
03:45:54       4   everyone else, he was facing ten years to life, which he was.
03:45:57       5   But he expects to get eleven years or less for his testimony
03:46:01       6   in this courtroom. He claims that he didn't use any drugs
03:46:06       7   during this period, but his good buddy Jose Perez used cocaine
03:46:12       8   regularly.
03:46:12       9               He testified he delivered to Ron Collins -- he wasn't
03:46:17     10    sure -- if it was five, six, seven, or eight times. He said
03:46:24     11    all the deliveries sort of blended together. Remember, it's
03:46:28     12    sort of like you put it in a blender and just spun it around.
03:46:31     13    Yeah, I don't remember anything. And the reason he didn't
03:46:34     14    remember anything is because there was nothing to remember.
03:46:39     15    He was just making it up. He testified, he said, all the --
03:46:47     16    excuse me. He gave you no details, and he said, there were no
03:46:56     17    witnesses to any of these deliveries. He testified that he
03:47:02     18    was always alone when he delivered to Ron Collins.
03:47:06     19                Daniel Torres, I was always alone. And I asked him
03:47:10     20    on cross, So you're telling us that there were no witnesses,
03:47:15     21    there was no one who could corroborate you, we just have to
03:47:19     22    take your word? I asked him that on cross, and he said, Yeah,
03:47:22     23    you just have to take my word.
03:47:26     24                He said he always delivered to Ron Collins at the
03:47:32     25    pool hall, the billiard hall, always. He never told you that
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03:47:39       1   he went to the Outback Steakhouse. His testimony -- there's
03:47:45       2   not one word by him of the Outback Steakhouse. He certainly
03:47:49       3   never told you that he went to the Outback Steakhouse and
03:47:52       4   Cesar Perez was with him. His testimony was he was always
03:47:56       5   alone, always at the billiard hall, and never mentioned the
03:48:00       6   word Outback Steakhouse once in his testimony.
03:48:03       7               He also never testified that he delivered cocaine to
03:48:13       8   Ron Collins on two occasions when Anthony Aguilera was with
03:48:20       9   him. He told you, I was always alone, and it was always at
03:48:26     10    the billiard hall. He never said Anthony Aguilera was with
03:48:31     11    him.
03:48:32     12                Torres never said he ever delivered cocaine to Ron
03:48:39     13    Collins at the apartment building on 13th Street. He never
03:48:42     14    testified to that. Torres insisted that he was always alone.
03:48:50     15    It was Aguilera who said he delivered with Torres. Torres
03:48:54     16    denied it.
03:48:56     17                Second witness, Anthony Aguilera, he pled guilty to
03:49:02     18    distributing cocaine, thousands of kilos. He's facing ten to
03:49:07     19    life. He expects a substantial reduction. Now, he admitted
03:49:14     20    that he's talked to Daniel Torres, that he's talked to Cesar
03:49:18     21    Perez, and he's talked to Jorge Llamas. He admitted that.
03:49:22     22                But, now, Cesar Perez says he never talked to
03:49:30     23    anybody. Jorge Llamas says he never talked to anybody.
03:49:34     24    Somebody's lying.
03:49:42     25                He claims he delivered to Ron Collins five times at
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03:49:46       1   an apartment building by the firehouse. Remember the
03:49:49       2   firehouse? They showed you a picture of it. He claims that
03:49:53       3   the first two times Cesar Perez was with him.
03:49:59       4               Now, Cesar Perez denies this. Perez says he was
03:50:06       5   alone and not with Aguilera. Perez on cross-examination, I
03:50:14       6   was alone, Collins was alone, there were no witnesses.
03:50:24       7               Aguilera also claims that on his third delivery at
03:50:28       8   the apartment building, Daniel Torres was with him. Now,
03:50:34       9   Torres denies this. Torres says he was always alone and only
03:50:38     10    delivered to the billiard hall. I mean, these guys are
03:50:42     11    tripping all over each other. Think about this.
03:50:44     12                But the Government, in their opening, says, That's
03:50:48     13    okay that they got mixed up who they were with, it's okay, as
03:50:52     14    long as they point at him, it's okay. Don't pay attention to
03:50:57     15    the rest. Don't pay attention that they are tripping over
03:51:00     16    each other, that they are pointing like this (indicating): I
03:51:04     17    was with him, but he was with me, and he was with him. I
03:51:07     18    mean, I'm confused and I hope you are too.
03:51:10     19                But it's okay, because they pointed at him. And
03:51:13     20    that's all, that's all we want you to do is just point at him.
03:51:24     21                Torres never -- excuse me.
03:51:27     22                Aguilera never testified -- or excuse me.
03:51:31     23                Torres never -- I get confused too the way they are
03:51:35     24    going around in circles.
03:51:36     25                Torres never testified he delivered to Collins at the
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03:51:39       1   apartment building. Went alone with Aguilera; Torres, I was
03:51:44       2   always alone, I was at the billiard hall.
03:51:47       3               So either Torres is lying, he was with Aguilera, or
03:51:52       4   Aguilera's lying, he wasn't with Torres, or they are both
03:51:55       5   lying and they are just making it up. I mean, somebody's
03:52:03       6   lying. This isn't a mistake. Oh, it gets worse if you
03:52:08       7   analyze this.
03:52:09       8               Now, we get Llamas. Let's put him in the mix.
03:52:13       9   Again, like everybody else he's facing ten to life, the most
03:52:16     10    serious drug charge. Get ready. He expects a little over
03:52:24     11    five years, 67 months. Wow. From life to 67 months. That's
03:52:35     12    what he expects. Because he only delivered nine tons of
03:52:40     13    cocaine. That's 18,000 pounds. And he made a deal for
03:52:48     14    67 months. It's a wonder they don't send a limo to bring him
03:52:52     15    to the courthouse.
03:52:54     16                You remember him? He tested positive four or five
03:52:58     17    times for marijuana. He's the guy who admitted he was
03:53:02     18    addicted to marijuana. But he said he stopped using drugs
03:53:13     19    when he was released on bond. But after being released, he
03:53:17     20    tested positive four or five times. And do you remember his
03:53:23     21    explanation to you, why he tested positive? He told you, I
03:53:28     22    tested positive because I was fat. I was fat. These tests
03:53:35     23    don't work on fat people.
03:53:39     24                You think the federal government pretrial, who gives
03:53:42     25    these people drug tests, you think they know it don't work on
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03:53:46       1   fat people? It works on everybody. He's just lying. It's
03:53:51       2   that simple.
03:53:52       3               And then he tells you -- then he got -- on another
03:53:57       4   test he failed for opiates, which are more serious drugs. He
03:54:01       5   said, These tests are just no good. They are unreliable. The
03:54:06       6   tests the Government gives people to see if they are using
03:54:09       7   drugs, they are just no good. They are unreliable.
03:54:13       8               You believe that? You know that's not true. You
03:54:17       9   know the tests are good. You know the tests works. He's
03:54:22     10    using drugs. He just sat there and lied about it. He set the
03:54:26     11    stage for the rest of his testimony by saying, Oh, I'm fat,
03:54:29     12    that's why it didn't work. Oh, it didn't work because they
03:54:33     13    are not reliable tests. You know, that set the stage for the
03:54:36     14    rest of his testimony. It was going downhill from there. It
03:54:41     15    was just going to go down from there.
03:54:43     16                He tells you the first time he delivered to Ron
03:54:48     17    Collins was at the Outback Steakhouse. Now, we've got three
03:54:52     18    people going to the Outback Steakhouse. And he says Cesar
03:54:57     19    Perez was with him. He said they had never seen Collins
03:55:01     20    before, but they figured out it was him, because he was
03:55:04     21    wearing flashy jewelry. That was his testimony, Llamas'.
03:55:11     22                All other times he claimed he was alone when he
03:55:15     23    delivered to Ron Collins. But now in this time when he claims
03:55:19     24    it was the first time that they didn't know Ron Collins and
03:55:24     25    they figured it was him because he had flashy jewelry.
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03:55:27       1               Perez testified that he went to the Outback, but
03:55:31       2   Perez doesn't testify he went with Llamas. No. Perez says he
03:55:36       3   went to the Outback with Torres. And that he already knew Ron
03:55:43       4   Collins well and recognized him right away. Now, which is it?
03:55:46       5   Is it the first time and they didn't know who he was and he
03:55:49       6   was just some guy in flashy jewelry? Or had they delivered to
03:55:53       7   him numerous times in the past and they knew who he was? It
03:55:59       8   can't be both. It just can't be.
03:56:01       9               And was Llamas with Perez? Perez says Llamas wasn't
03:56:04     10    with me. Perez says he was with Torres. But Torres says he
03:56:09     11    was alone. So which is it? Was Torres alone? Was Perez with
03:56:15     12    Llamas? Was Perez with Torres? Or did it never happen at
03:56:19     13    all? I mean, which one of the three do you want to pick?
03:56:24     14                But according to the Government, it doesn't matter
03:56:27     15    that they got their stories mixed up. What matters is they
03:56:32     16    pointed to him. That's what counts. That's what they want to
03:56:36     17    hear. He did it. Forget the fact that I can't remember that
03:56:44     18    I was -- I think I was -- I say I was with him, but you say I
03:56:45     19    was with him, and you say I wasn't. I mean, this gets
03:56:49     20    confusing. That's the testimony you're hearing.
03:56:51     21                What you're hearing is a bunch of lies from each and
03:56:56     22    every one of them. Now, you've got Cesar Perez. He also pled
03:57:01     23    guilty, ten to life, because, again, he's facing a serious
03:57:04     24    crime. He expects to get eleven years or less. Now, he told
03:57:09     25    us that he made over a million and a half dollars in drug
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03:57:15       1   money, and he expects to get eleven years or less.
03:57:22       2               He admits he used cocaine regularly from '01 through
03:57:26       3   '08. God knows how high he was and how often he was high. He
03:57:32       4   was the one who picked up and delivered all of the guns.
03:57:36       5   Remember that? For the Torres [sic] brothers, including the
03:57:41       6   machine gun for the Torres brothers. That's who Perez was.
03:57:46       7               Perez said he delivered cocaine to Ron Collins at the
03:57:50       8   Outback Steakhouse, after he had made other deliveries to him
03:57:55       9   in the past. Well, if that's true, then it can't be true that
03:58:00     10    they recognized him because he was wearing fancy jewelry and
03:58:03     11    they had never seen him before in their life. It can't be
03:58:07     12    both ways.
03:58:08     13                This isn't credible testimony. This isn't reliable
03:58:14     14    testimony. This is made up testimony.
03:58:18     15                You know, according to him, this was not his first
03:58:21     16    delivery to Collins. He knew Collins well. He said he was
03:58:25     17    with Danny Torres, not Jorge Llamas, but right before him,
03:58:32     18    Llamas said Perez was with me -- or Perez says, I was with
03:58:36     19    Torres. And Torres says, I was alone.
03:58:39     20                Now, remember, Torres said he was alone. Llamas said
03:58:43     21    he went with Perez. It wasn't their first delivery. None of
03:58:47     22    these guys can get their stories straight.
03:58:51     23                Next, Perez said he delivered to Ron Collins downtown
03:58:55     24    and was always alone. Always alone, he delivered downtown,
03:59:01     25    was his testimony. But Aguilera, before him, claimed he was
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03:59:06       1   with Perez when he delivered to the apartment building by the
03:59:10       2   firehouse. Now, was he alone or was he with Aguilera? He
03:59:19       3   says he was alone. Aguilera says he's with him. Who's lying?
03:59:24       4   They are both lying, that's who's lying, they both are.
03:59:28       5               But that's okay, says the Government. They pointed
03:59:31       6   at him. They said he's involved. So that's okay that they
03:59:35       7   can't quite get their stories straight, as long as they point
03:59:39       8   at him. You know, they just can't get these stories straight,
03:59:46       9   and they are never going to get them straight, because they
03:59:50     10    are not true.
03:59:52     11                You heard the last officer to testify, he's
03:59:57     12    interviewed informants, he's interviewed cooperating
04:00:03     13    witnesses, and he's caught them lying on more than one
04:00:06     14    occasion. He said, They'll lie for a host of reasons.
04:00:09     15    They'll lie to protect their sources. They'll lie to protect
04:00:12     16    their friends. They'll lie to protect their family. They'll
04:00:17     17    lie to protect their drug money. They'll lie to protect their
04:00:20     18    assets. And, boy, most of all, what do you think they'll lie
04:00:24     19    to do? You know as well as I. They'll look you straight in
04:00:31     20    the eyes, and they'll lie to you before they'll spend the rest
04:00:33     21    of their life in prison and die there.
04:00:37     22                Now, let's take a look at Robert Gregory. Robert
04:00:41     23    Gregory's the guy who drives an hour and a half to two hours
04:00:44     24    to get to Chicago to get his car repaired, because there's
04:00:48     25    nobody in all of Milwaukee who can fix a BMW. He has to come
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04:00:54       1   all the way to Lee's.
04:00:56       2               Now, Ron Collins is there, because Ron Collins lives
04:01:00       3   in Chicago. Ron Collins is getting his car fixed at Lee's,
04:01:05       4   the neighborhood shop. Not an hour and a half, two hours from
04:01:09       5   his house. And here's what Gregory wants you to believe.
04:01:15       6   Gregory wants you to believe that Ron Collins, who he's never
04:01:17       7   met in his entire life walks up to him and goes, Hi, what's
04:01:23       8   the price of cocaine in Milwaukee? If you were the biggest
04:01:30       9   drug dealer in the world or the smallest drug dealer in the
04:01:33     10    world or anybody in between, do you really think you would
04:01:36     11    walk up to a total stranger and burst out with a statement
04:01:42     12    like that? Wouldn't you be afraid he may a cop? He may be
04:01:45     13    the son of a cop? He may be the father of a cop? He may be
04:01:48     14    the friend of a cop? He may be a husband of a cop? You're
04:01:52     15    just going to walk up to a total stranger.
04:01:54     16                And then the total stranger is going to say back to
04:01:57     17    you, Oh, it's 19. And then the third sentence out of his
04:02:01     18    mouth is -- or second out of his mouth, Well, suppose I can
04:02:07     19    beat that? Suppose I can get it for you, or I can meet that
04:02:09     20    price? In 30 seconds or less, two total strangers have now
04:02:16     21    formed this drug relationship that is utterly preposterous.
04:02:24     22    That is ridiculous. That couldn't happen in real life. Total
04:02:30     23    strangers, and in 30 seconds they're dealing drugs together.
04:02:33     24                Well, did you find it interesting that Gregory didn't
04:02:36     25    tell you on his direct examination how he knew Ron Collins,
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04:02:42       1   that he knew Ron Collins because Ron Collins bought a car from
04:02:45       2   him, a Volkswagen Jetta? Remember that? That didn't come out
04:02:51       3   'til I asked him about it. He didn't volunteer that on
04:02:54       4   direct. He didn't tell you, That's how I knew Ron Collins. I
04:02:57       5   bought a car from him. No. I know Ron Collins because I met
04:03:01       6   him and three seconds later we're buddies, we're tight, and
04:03:05       7   we're going to do drug deals together, first words out of my
04:03:09       8   mouth.
04:03:10       9               No, the first words out of his mouth probably to Ron
04:03:13     10    Collins were, Hey, I've got a Volkswagen Jetta. You know
04:03:17     11    anybody looking to buy one? That's how he knows him.
04:03:21     12                Gregory is protecting someone. Gregory's protecting
04:03:24     13    his source. Is his source at Lee's? Does his source work
04:03:29     14    there? Does his source meet him there? There's something
04:03:32     15    going on that Gregory drives an hour and a half to two hours
04:03:36     16    to go to Lee's. There's something going on, and Gregory's got
04:03:40     17    some relationship with somebody at Lee's and he's protecting
04:03:44     18    them.
04:03:44     19                He tells you he paid Collins $9500 for nine ounces, a
04:03:51     20    quarter of a kilo, on three separate occasions. He was
04:03:55     21    positive, $9500, three separate times. Then on
04:04:01     22    cross-examination I said, Woe, the math doesn't work.
04:04:05     23    Shouldn't it be half of that, 4750? Oh, yeah. If he really
04:04:14     24    bought cocaine, you think he would have forgot how much he
04:04:20     25    paid for it? If he really bought cocaine from Ron Collins, do
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04:04:24       1   you think he would have forgotten?
04:04:27       2               Now, he was just making it up as he went along. He's
04:04:32       3   making up the whole thing. It's not believable. He's not
04:04:37       4   honest. Now, in his phone he had Ron, R-o-n, and he had RR.
04:04:49       5   This doesn't make much sense to me either. He says both of
04:04:54       6   them are Ron Collins. Why did you have two separate listings
04:04:57       7   or two separate numbers for the same person? Why wouldn't you
04:05:04       8   have Ron or RR for Ron Ron. But he never referred to him as
04:05:09       9   Ron Ron. He always called him Ron.
04:05:12     10                So why does he have two separate listings, RR and
04:05:17     11    Ron, with two separate numbers and claim that they are the
04:05:19     12    same person? Because one of them is Ron Collins' number and
04:05:24     13    the other's not. And why does he have Ron Collins' number?
04:05:28     14    Because Ron Collins bought a car from him. They negotiated
04:05:31     15    it. Collins saw it. Collins drove it. They met. They
04:05:36     16    talked about it. He had to go back to Milwaukee and get a
04:05:39     17    title. Collins had to go get money and pay him. They had to
04:05:42     18    meet again. Oh, they met and they talked numerous times. He
04:05:45     19    knows Collins. Collins knows him. They know each other from
04:05:49     20    the car.
04:05:50     21                You know, let's ask ourselves, why would these
04:05:55     22    criminals do this? And I don't think the answer could be more
04:05:58     23    obvious than if I put instead of a slide show up there I put a
04:06:04     24    blinking neon sign saying, I want to get out of jail. I will
04:06:06     25    do anything I can to do that. I will say anything. I will do
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04:06:11       1   anything. I want to get out of jail.
04:06:15       2               These people aren't good citizens doing civic duty.
04:06:19       3   They are criminals. They are delinquents. They are drug
04:06:23       4   dealers. Don't let them fool you. Don't let them use you to
04:06:27       5   get out of jail.
04:06:29       6               They made a deal with the Government. They know how
04:06:32       7   the system works. The Government bought and paid for this
04:06:39       8   testimony with something more valuable than money, with time.
04:06:44       9   Did you notice -- and I told you this in opening statement,
04:06:49     10    guaranteed you this -- every one of them was going to come
04:06:52     11    here and at least on two or three occasions say, I'm only here
04:06:56     12    to tell the truth. I said, You're not here to save your skin?
04:07:01     13    You're not here to -- No, no, no, I'm here to tell the truth,
04:07:05     14    for the beauty of the truth. That's the only reason I'm here.
04:07:11     15                One of them was honest enough, Torres. Torres told
04:07:15     16    you, I'd lie to save myself. I'd lie to see my kids. I'd do
04:07:20     17    anything, Torres said.
04:07:24     18                I'm here to tell the truth. I don't care if I get
04:07:29     19    time off or not. Insider testimony. I'd rather spend the
04:07:33     20    rest of my life in prison. I have morals. I deal drugs. But
04:07:37     21    where I draw the line is lying to you people in court. That's
04:07:41     22    something I would never do. That is ridiculous. That's
04:07:48     23    ludicrous.
04:07:54     24                You know, you've got to consider the testimony of
04:07:57     25    these people with particular caution. It's almost like when
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04:08:04       1   you go in a grocery store and there's certain products like
04:08:09       2   drain cleaner and it's got the skull and crossbones on it?
04:08:13       3   That's a warning sticker that this is caustic. God forbid you
04:08:18       4   or your child picks this up and drinks it. You could die.
04:08:22       5   It's a warning label. Well, let me tell you. Every one of
04:08:26       6   these people were coming in here with skulls and crossbones
04:08:30       7   all over them warning you not to believe them, not to trust
04:08:34       8   them.
04:08:39       9               What physical evidence did you see in this trial?
04:08:44     10    You didn't see any drugs. None from him. You didn't see
04:08:50     11    drugs from anybody, because there were none. Fancy expensive
04:08:55     12    cars. We know about one car he bought and others they claim
04:09:04     13    he drove. None of them are fancy, expensive cars.
04:09:10     14                And what have you learned? You learned how he paid
04:09:13     15    for his car. Paid for it the way we all do. Made payments
04:09:18     16    every single month. Did he walk into the dealer and throw 65
04:09:22     17    grand in hundred-dollar bills or twenty-dollar bills on a
04:09:26     18    table or in a briefcase? No. He put, what was it, $4200
04:09:32     19    down, and he made payments every month. Wow. That's
04:09:35     20    certainly the way a drug dealer would do it, isn't it? $4200
04:09:42     21    down payment and payments every month.
04:09:44     22                No guns. No drugs.
04:09:52     23                The Government introduced three recordings that they
04:09:53     24    claim were made by Ron Collins and Pedro Flores. I found the
04:10:00     25    Flores brothers really interesting. Clearly, they were
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04:10:05       1   playing the Government, weren't they? The agents, the
04:10:11       2   meetings with them, talking to them while they were federal
04:10:17       3   fugitives. From April through November, eight months the
04:10:22       4   Government's dealing with federal fugitives and doesn't arrest
04:10:28       5   them. And they were still dealing drugs during this whole
04:10:35       6   period of time that they were negotiating a deal in with the
04:10:38       7   Government. They didn't stop dealing drugs 'til they got here
04:10:41       8   in the United States. You heard witnesses say, The Flores
04:10:44       9   brothers are dealing drugs right before -- right up to
04:10:47     10    Thanksgiving.
04:10:55     11                One of the agents testified, We suspected they were
04:11:01     12    dealing drugs. God, it was as plain as the nose on their
04:11:06     13    face. How they couldn't figure it out is beyond me. Or did
04:11:11     14    they? And did they turn their back, and figure whatever it
04:11:13     15    was they wanted from the Flores brothers was valuable enough
04:11:16     16    to let them continue dealing drugs?
04:11:19     17                Now, the Flores brothers didn't identify Ron Collins'
04:11:30     18    voice. The Flores brothers didn't tell you they made that
04:11:33     19    tape. In fact, not one single witness can or did tell you
04:11:41     20    when the tape was made. They can guess, because there's a
04:11:45     21    date-stamp on it. But if any of you have digital cameras, you
04:11:52     22    know you set the date on a camera. So if I want to say a
04:11:56     23    picture was taken on Christmas Day, December 25th, I could set
04:11:59     24    that date right this minute, take that picture, and six
04:12:03     25    months, a year from now show, See there, it was taken on
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04:12:04       1   Christmas.
04:12:07       2               No one's told you when these conversations were made.
04:12:13       3   No one really knows where they were made. No one, who's
04:12:21       4   testified in this courtroom, was present when they were made,
04:12:26       5   not one single witness was present. All they did was get
04:12:32       6   handed in Mexico a recorder and then downloaded and then sent
04:12:38       7   the disk here.
04:12:40       8               We don't know when they were made, by whom they were
04:12:43       9   made, under what circumstances were they made, was the
04:12:46     10    recorder shut on and off during various sentences? We don't
04:12:50     11    know anything. All we know is that an agent got a recorder,
04:12:55     12    downloaded it, sent the disk here.
04:12:57     13                Now, we have voice identification by two Government
04:13:05     14    agents. As the agents told you under cross-examination, they
04:13:11     15    have no special training in voice identification. They can't
04:13:19     16    do it any better than you and I, the agent told you. It's
04:13:24     17    just his opinion that it's Ron Collins. Well, it's supposed
04:13:28     18    to be Ron Collins. Of course it's his opinion it's him.
04:13:32     19                And then Agent Durante told you that he heard Ron
04:13:36     20    Collins -- he spoke to Ron Collins for 45 minutes, then two
04:13:40     21    years later he listened to the tape.
04:13:43     22                MS. GUREN: Objection, misstates the record.
04:13:44     23                MR. RUBINO: I disagree.
04:13:45     24                THE COURT: Okay. Hold on, folks.
04:13:47     25                So when they disagree about what the evidence is,
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04:13:50       1   it's your collective memory that overrules what either side
04:13:57       2   says. You heard the evidence. You discuss it during your
04:13:58       3   deliberations, and you make the decision about the facts as
04:14:01       4   they were.
04:14:01       5               You may proceed.
04:14:03       6               MR. RUBINO: Thank you.
04:14:03       7               I have a recollection of what the evidence is. The
04:14:07       8   prosecutor has a recollection of what the evidence is. And as
04:14:10       9   the judge just told you, your recollection is what counts.
04:14:14     10    What I'm telling you is not evidence, and what they tell you
04:14:19     11    is not evidence. It is my opinion. It is my recollection.
04:14:23     12                My recollection is that the agent told you that I
04:14:28     13    spoke with him for 45 minutes two years ago and then I
04:14:33     14    listened to the tapes from the jail. And based on that, it
04:14:39     15    was Agent Durante's opinion that it was Ron Collins. Well,
04:14:43     16    you have the -- we use the word -- I guess I'm dating myself,
04:14:47     17    they're not tapes anymore. They are disks. But you have the
04:14:51     18    recordings. Take them back there. Listen to the two of them.
04:14:57     19    You're just as good an expert as they are. They admit that.
04:15:01     20    They have no training, no experience, no -- they are not
04:15:04     21    experts. Neither am I. Neither are you.
04:15:08     22                After you listen to them, can you say to yourself, I
04:15:13     23    have no reasonable doubt that is the voice of Ron Collins? If
04:15:19     24    you can say you have no doubt whatsoever that's his voice,
04:15:21     25    then come back with a guilty verdict, come back with one. But
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04:15:25       1   when you listen to those two tapes and you compare them, you
04:15:29       2   will have reasonable doubt. You'll say, I don't know if
04:15:34       3   that's him. I don't know. All I can tell you it's a man's
04:15:39       4   voice.
04:15:46       5               In summation, who have you heard from? Who has
04:15:51       6   accused Ron Collins? People that are sending hundreds of
04:15:57       7   kilos, thousands across this whole area. People that are
04:16:01       8   distributing thousands of kilos. People who possess guns,
04:16:06       9   machine guns. People who are facing up to life in prison.
04:16:13     10    Witnesses who, I have repeatedly said, would rather spend the
04:16:17     11    rest of their life in prison and die there than lie to you.
04:16:21     12    Now, that's the biggest lie you've ever heard alone.
04:16:24     13                People are facing millions of dollars of fines,
04:16:28     14    forfeiture of all their assets. They need to find a way out.
04:16:35     15    Ron Collins, that's the way out. That's the ticket. That's
04:16:42     16    the bus that's going to pick them up at the jail and take them
04:16:47     17    home. They want to blame him. They want to trade places with
04:16:52     18    him. They want to put him in prison to get themselves out.
04:16:56     19    This is what they have to do. This is what they did do. This
04:16:59     20    is what they come into this courtroom and do.
04:17:03     21                They got nothing to lose. Think about it. What a
04:17:07     22    wonderful position they are in. They got nothing to lose.
04:17:11     23    Oh, the Government will tell you, I'm sure, Oh, I have my deal
04:17:16     24    to lose if I lie. No, I've got my deal to lose if I get
04:17:21     25    caught lying. If I get caught.
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04:17:29       1               You know, the Government will tell you that the
04:17:32       2   witness said this, the witness said that. The question isn't
04:17:39       3   did the witness say it. The question is, is it true? Of
04:17:45       4   course the witness said it. I mean, if you take the Outback,
04:17:48       5   which is the most confusing point-around I've ever seen in my
04:17:53       6   life, yeah, they said it. But it can't be true. It can't be
04:17:57       7   true, because he can't be with him when he is with him, when
04:18:02       8   he is with him. It can't be true. But what counts is they'll
04:18:08       9   blame him. They all blamed him.
04:18:12     10                So the Government can tell you all day long that the
04:18:15     11    witness said it, but the question isn't whether the witness
04:18:19     12    said it. The question is, is the witness who said it
04:18:24     13    believable? Can you trust that witness?
04:18:34     14                There's been no testimony that illegal money came
04:18:37     15    from Ron Collins to his bank accounts. In order to say that
04:18:46     16    all that money, or any of that money, is illegal, you just
04:18:50     17    have to assume it. You just have to guess it. You just have
04:18:55     18    to speculate.
04:18:57     19                30-some-thousand dollars in cash went into his
04:19:03     20    account. No question it did. The remainder of the money --
04:19:07     21    at first the witness, my recollection is, said that that was
04:19:10     22    cash money, 300-some-thousand dollars. But then we sort of
04:19:15     23    dissected it page by page, if you remember. And he admitted
04:19:20     24    that he didn't know whether the money was cash or whether the
04:19:25     25    money was a check from another account, whether the money was
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04:19:27       1   a transfer from a savings account. He didn't know where it
04:19:31       2   came from. Actually, his testimony was simply, It didn't come
04:19:34       3   from that one bank account that they told me about.
04:19:39       4               Well, could it have come from anywhere else on cross?
04:19:44       5   And his answer is yes, it could have. Just because he wasn't
04:19:51       6   given other bank accounts don't mean they don't exist. All he
04:19:56       7   told you, if you think about it, was, That I got money that I
04:19:59       8   can't -- that it didn't come from this bank account. Could it
04:20:03       9   have come from other bank accounts? He readily admits it. I
04:20:08     10    said, Can you tell this jury that you're positive that money
04:20:10     11    was cash? And his answer was, No, no, I can't tell them that.
04:20:15     12    But that's the spin they want to put on it. That's what they
04:20:19     13    want you to believe. Unaccounted-for cash.
04:20:36     14                Demand quality witnesses. Demand quality testimony.
04:20:42     15    Do you have witnesses? Yes. Do you have testimony? Yes. Is
04:20:45     16    it testimony you can believe? No.
04:20:49     17                You know, the Court told you that an indictment is
04:20:56     18    merely an accusation. But if that weren't true, if everybody
04:21:00     19    that got indicted was guilty, there would be no need for you,
04:21:04     20    no need for me, and no need for this courtroom. We'd just
04:21:09     21    take them out back and string them up. We wouldn't need to
04:21:14     22    prove anything.
04:21:15     23                Well, in this wonderful country of ours we don't do
04:21:18     24    that. We have this system and this system works, and it works
04:21:24     25    because of you. And I'm asking you to take this evidence and
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04:21:29       1   turn it every different way and look at it every possible way
04:21:33       2   and say, Is it tainted in some way? Is it flawed in some way?
04:21:40       3   Or is it something that I can embrace and trust in and have no
04:21:45       4   reasonable doubt whatsoever?
04:21:48       5               Well, it's simply not the truth. You know this
04:21:52       6   evidence is tainted. You know this evidence smells like old
04:21:56       7   garbage. You know those people would do or say anything to
04:22:01       8   save their skin. That's the whole case against Ron Collins.
04:22:06       9   There's nothing more to it. It's five informants, five
04:22:13     10    cooperators, five snitches, five whatever word you want to
04:22:18     11    give these people, five people who are desperate to trade
04:22:24     12    places with Ron Collins, five people that you can't rely upon,
04:22:31     13    five people that you have to have a reasonable doubt about
04:22:37     14    their testimony.
04:22:37     15                And if you have a reasonable doubt, the law requires
04:22:42     16    that you find Ron Collins not guilty, not proved. They didn't
04:22:49     17    prove to you -- they didn't provide you with the quality
04:22:54     18    needed to make you have no reasonable doubt.
04:23:00     19                When you go back in that jury room, you're going to
04:23:03     20    have plenty of doubts and they are all going to be fair and
04:23:06     21    they are all going to be reasonable, because you just can't
04:23:09     22    put your arms around those witnesses and trust them and say, I
04:23:14     23    feel good with this witness. I would trust this witness in
04:23:21     24    the most important of my personal affairs. I would believe in
04:23:26     25    him. I would take his word. You can't do that, and you can't
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04:23:32       1   do it to Ron Collins. You've got to do the right thing. You
04:23:35       2   come back with a verdict of not guilty. Thank you.
04:23:40       3               THE COURT: How are you folks doing? The Government
04:23:42       4   has a rebuttal argument. Does anyone need a five-minute break
04:23:46       5   before we start the rebuttal argument?
04:23:48       6               (Jury nodding.)
04:23:49       7               THE COURT: Okay. Five minutes only, and we'll come
04:23:52       8   right back.
04:23:58       9               (The jury leaves the courtroom.)
04:35:05     10                (Recess taken.)
04:35:05     11                (The jury enters the courtroom.)
04:35:22     12                THE COURT: Okay, folks. Please be seated.
04:35:24     13                And I am now going to recognize Ms. Guren for the
04:35:27     14    Government's rebuttal argument.
04:35:27     15                                         - - -
04:35:32     16                           MS. GUREN, FINAL ARGUMENT
04:35:32     17                MS. GUREN: Now the defense counsel told you to
04:35:36     18    demand quality witnesses, witnesses that you could embrace,
04:35:40     19    that you could confide in. I wish that our witnesses could
04:35:45     20    have been priests and ministers and rabbis and churchgoing
04:35:49     21    grandmas. I wish they could have been. But the problem is
04:35:53     22    that's not who the defendant was dealing drugs with.
04:35:56     23                And so he chose our witnesses, not us, and so we
04:36:02     24    called the drug couriers and we called the drug customers, and
04:36:05     25    we put on their evidence, because that is who the defendant
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04:36:09       1   chose to conspire with.
04:36:15       2               And you can't find out what is going on inside a
04:36:18       3   secret conspiracy without calling the conspirators. But the
04:36:24       4   defense counsel was very wrong on one point, several points,
04:36:31       5   which I'll get to. He told you that their testimony was
04:36:34       6   untested, uncorroborated, unsupported, and a couple other un-
04:36:40       7   adjectives. That's not true.
04:36:43       8               You have a recollection of the testimony, and it is
04:36:50       9   your recollection that matters. The defense counsel's
04:36:53     10    recollection is not what matters. You were taking notes. You
04:36:58     11    were listening. You were paying attention. It is your
04:37:00     12    decision and it's your recollection, and it's not my
04:37:03     13    recollection either.
04:37:03     14                I'm going to go through and try to tell you, to the
04:37:06     15    best of my recollection, some of the points that I think
04:37:09     16    defense counsel got wrong, but it does go with what you
04:37:12     17    remember. It is your memory; that's what matters.
04:37:14     18                The witnesses were not unsupported, uncorroborated,
04:37:18     19    untested. First of all, the witness testimony, that's
04:37:25     20    evidence. You'll hear in the jury instructions that the judge
04:37:29     21    gives you that that is evidence that you can consider.
04:37:31     22                And their testimony, it, first of all, corroborated
04:37:34     23    each other. Yes, there are some things that they got wrong.
04:37:38     24    They misremembered. They didn't remember. But overall, the
04:37:42     25    main things were there, and I'm going to go through some of
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04:37:45       1   those points more carefully.
04:37:48       2               Starting with the famous Outback Steakhouse, now, the
04:37:54       3   Outback steakhouse and the event you heard about the Outback
04:37:58       4   steakhouse, that's what should reassure you, that's what
04:38:01       5   should make you feel good. Because if the witnesses were
04:38:03       6   getting up there and they were testifying to the same exact
04:38:06       7   story with the same exact details, that's what should have
04:38:10       8   made you nervous, because that's not how memory works. That
04:38:14       9   should have completely scared you.
04:38:16     10                But the fact that they didn't always remember the
04:38:18     11    same details -- and you know what happened at that Outback
04:38:22     12    steakhouse. You can use your common sense in terms of how
04:38:25     13    many there were. Jorge Llamas and Cesar Perez went to that
04:38:28     14    Outback Steakhouse together. Cesar Perez, for whatever
04:38:31     15    reason, remembers it being Danny Torres.
04:38:33     16                But what do you remember about their testimony?
04:38:33     17    Their testimony about the main details at the Outback
04:38:36     18    steakhouse is the same. They got there. It was Cesar Perez.
04:38:40     19    It was Jorge Llamas' first time meeting the defendant, not
04:38:44     20    Cesar Perez. You heard from Cesar Perez. The defense
04:38:47     21    attorney's wrong. Cesar Perez had previously delivered to the
04:38:51     22    defendant. It was Jorge Llamas' first time, because he had
04:38:54     23    been in Mexico.
04:38:54     24                And he went along with Cesar Perez to the Outback
04:38:58     25    steakhouse. They parked in the parking lot. They didn't see
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04:39:01       1   the defendant. They went inside the restaurant. And where do
04:39:04       2   both of them say they went? To the bar. Looking around the
04:39:07       3   restaurant, they both saw the defendant eating there. Then
04:39:10       4   they approached -- then Cesar Perez approached him. And why
04:39:16       5   was he exchanging keys? Because he was trading cars to
04:39:19       6   deliver the cocaine that he brought.
04:39:21       7               Danny Torres never said he went to the Outback
04:39:25       8   steakhouse. He probably didn't. It was Jorge Llamas and
04:39:27       9   Cesar Perez. They told you very similar details of what
04:39:32     10    happened there. That's what they remember. It doesn't matter
04:39:36     11    if it was Cesar Perez. Or -- in fact, that should reassure
04:39:41     12    you, because if he was testifying exactly the same, that's a
04:39:45     13    problem. That's where your antenna should start to go up
04:39:48     14    thinking maybe something's not right.
04:39:52     15                What about Antonio Aguilera? Now, first, my
04:39:54     16    recollection of the testimony is different from the defense
04:39:57     17    counsel. My recollection is that Antonio Aguilera never said
04:40:00     18    he went to the West Loop apartment with Danny Torres. He said
04:40:06     19    he went to Cue Billiard with Danny Torres. It's true Danny
04:40:09     20    Torres, when he testified, he told you he went alone to Cue
04:40:13     21    Billiards. Antonio Aguilera recalls following in the car.
04:40:16     22    They both found -- pointed to that same photo of Cue
04:40:21     23    Billiards. That's the same location they both identified.
04:40:24     24    They both testified about meeting the defendant there.
04:40:26     25                So Danny Torres may not remember that Antonio
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04:40:31       1   Aguilera followed him. Again, these are details that
04:40:36       2   should -- you know, if they were trying to collude, if they
04:40:39       3   were trying to come up with the same story, if they were
04:40:43       4   trying to make their testimony the same, that point would have
04:40:48       5   been exactly straight on. Their testimony would have been
04:40:51       6   exactly alike.
04:40:52       7               And I think it's really interesting that the defense
04:40:55       8   counsel pointed out that Antonio Aguilera said that he spoke
04:40:57       9   to the witnesses about their testimony. That is not what the
04:41:00     10    defense counsel asked him. The defense counsel asked him,
04:41:03     11    Have you spoken to these individuals? And he told you, Yeah,
04:41:06     12    a couple times. The defense counsel did not ask Antonio
04:41:10     13    Aguilera if he spoke about his testimony to these individuals.
04:41:14     14                And Cesar Perez told you he hadn't spoken to Danny
04:41:18     15    Torres. But notice defense counsel hadn't asked Cesar Perez
04:41:22     16    when he was up on the stand if he spoke to Antonio? He didn't
04:41:26     17    ask him that. But Cesar Perez told you and Jorge Llamas told
04:41:29     18    you, they never spoke about their testimony to anyone. And
04:41:32     19    it's clear they didn't speak about it with each other, because
04:41:34     20    otherwise they would have gotten that Outback steakhouse thing
04:41:38     21    sorted out.
04:41:39     22                So that is how you can trust some of these things
04:41:42     23    that the witnesses said, because they corroborate each other,
04:41:44     24    but they are not exactly the same, because that's not how
04:41:48     25    memory is, that's not how normal people recall events.
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04:41:52       1               Now, I'm going to focus a lot of time on the
04:42:10       2   evidence. The defense counsel spent a lot of time talking to
04:42:13       3   you at first about the burden of proof, and the burden of
04:42:17       4   proof is very important. It is the Government's burden of
04:42:20       5   proof to prove to you beyond a reasonable doubt the evidence
04:42:23       6   in this case and the evidence that proves the defendant is
04:42:26       7   guilty, and that burden does not shift to the defense counsel.
04:42:31       8   But I'm not going to spend that much time talking about that,
04:42:34       9   because I know you're going to be instructed on it, and I know
04:42:39     10    you're going to take that seriously.
04:42:41     11                I'm going to spend my time talking to you about the
04:42:44     12    evidence. And the evidence shows more that these cooperators,
04:42:46     13    these witnesses were corroborated. They talked to you about
04:42:49     14    the locations that they did their drug dealing in and it
04:42:52     15    overlapped. Aguilera and Torres told you about Cue Billiard.
04:42:58     16    Aguilera and Perez told you about West Loop. Aguilera and
04:43:01     17    Llamas told you about the South Loop apartment. Torres and
04:43:05     18    Perez told you about Michigan and Indiana. Llamas and Perez
04:43:09     19    told you about -- about the Outback steakhouse. These are
04:43:14     20    locations that you heard about. They weren't picked at
04:43:17     21    random. They were picked from their recollections.
04:43:20     22                Danny Torres, he said -- the defense attorney wants
04:43:23     23    to have it both ways. Danny Torres said at certain parts that
04:43:27     24    he didn't remember. He didn't remember. And Danny Torres
04:43:30     25    said at certain parts he didn't know. He was testifying about
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04:43:33       1   these things. And, yet, the defense counsel wants you to
04:43:36       2   believe that somehow or another he was making up this whole
04:43:39       3   story. This doesn't make sense.
04:43:41       4               Why would he testify that he didn't remember, that he
04:43:42       5   didn't know certain things, that he was just making up a
04:43:45       6   story? He would just make up the answer. He wouldn't say, I
04:43:48       7   don't remember. He wouldn't say, I don't know. He would just
04:43:51       8   make up some fact. But he didn't say that. He said, I don't
04:43:55       9   remember, when he didn't remember. He said, I don't know,
04:43:57     10    when he didn't know.
04:44:00     11                You all also heard about the same way of operating
04:44:03     12    that switching of cars, the duffle bag, the money payments,
04:44:08     13    the fact that the defendant did not speak very much to these
04:44:12     14    couriers. He didn't talk a lot to them. It was a quick
04:44:15     15    exchange.
04:44:16     16                And you also heard -- what else corroborates them?
04:44:18     17    The cars. You heard Gregory, Perez, and Torres talk about an
04:44:24     18    Audi and an Infiniti. In fact, Gregory, a car guy -- he
04:44:28     19    really knows his cars -- he told you that it was an A8. What
04:44:32     20    did you see in the financial documents? The defendant owns an
04:44:35     21    Audi A8. What else did you see? Gregory and Aguilera told
04:44:40     22    you about the silver Jeep Cherokee. Financial documents
04:44:43     23    showed you he had access to a Jeep Cherokee.
04:44:45     24                There was also talk about the black Lincoln truck.
04:44:49     25    Both Gregory and Llamas talked about that black Lincoln truck
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04:44:54       1   and how nice it was. And both Gregory and Perez told you
04:44:55       2   about the Land Rover. You saw the financial documents. There
04:44:57       3   was a Land Rover. They also all talked about the same nice
04:45:02       4   jewelry that the defendant was wearing. That was a
04:45:04       5   commonality in their testimony that they talked about.
04:45:08       6               So the details may not have been perfect, they may
04:45:11       7   not have been precise, but that's how you know. That's how
04:45:15       8   you can judge, using your common sense, that their testimony
04:45:17       9   was truthful.
04:45:18     10                And what else? Defense counsel spent a lot of time
04:45:21     11    talking to you about their motivations. And he told you I
04:45:25     12    would say this and I am going to say that and I'm going to say
04:45:27     13    it because it's a very important point. They have positive
04:45:32     14    motivation to tell the truth up there. Their deal doesn't
04:45:35     15    happen if they lie on the stand. And you know that they
04:45:39     16    didn't lie, because you saw the corroborating evidence. You
04:45:42     17    saw with Robert Gregory the phones that said Ron and RR.
04:45:48     18                You saw in there the phone calls, 153 calls. Those
04:45:55     19    are not 153 calls about a Volkswagen Jetta. Mr. Gregory
04:46:00     20    didn't tell you about a Volkswagen Jetta on direct, because he
04:46:06     21    wasn't asked about it. But when defense counsel asked him
04:46:06     22    about that Volkswagen Jetta, Oh, yeah, I talked to him about a
04:46:08     23    Volkswagen Jetta. That was after I met him, though.
04:46:10     24                153 calls are not about Robert Gregory selling a
04:46:14     25    Volkswagen Jetta to the defendant. And how else do you know
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04:46:17       1   that? The text messages from RR that you saw. Look at text
04:46:21       2   message number 11 when you get back to the jury room. It
04:46:24       3   says, Can you bring back down -- I need to meet you to bring
04:46:27       4   back down that change. That is the defendant sending the text
04:46:31       5   message to Robert Gregory about the -- about Robert Gregory
04:46:35       6   bringing down change, money, payment. Why would Robert
04:46:39       7   Gregory need to bring down money, if he was the one selling
04:46:42       8   the Volkswagen Jetta to the defendant and that was the
04:46:46       9   entirety of their relationship and nothing more?
04:46:48     10                And what else? The defense counsel -- and he raised
04:46:51     11    a couple questions about this to Nicole Smith about how
04:46:55     12    perhaps Ron and RR were different people. Well, Robert
04:46:59     13    Gregory told you exactly what happened, and it's corroborated
04:47:01     14    by his phone records. When he first met the defendant and he
04:47:05     15    got that phone number of the defendant's, he put Ron in his
04:47:08     16    thing. But he knew him as Ron Ron. But he had just met him.
04:47:11     17    He put Ron in his cellphone.
04:47:14     18                What else did you see? Look at SIM card 1 and SIM
04:47:18     19    card 2. RR and Ron, same phone number. RR is Ron Ron. Ron
04:47:24     20    is also Ron Ron. It's the same phone number, and it's that
04:47:27     21    same phone number that those text messages came from, and that
04:47:31     22    whole message about bringing down change. That's because
04:47:34     23    Robert Gregory was Ron Collins' customer.
04:47:39     24                The defense counsel also spent some time saying that
04:47:42     25    it was unreasonable, it was beyond belief that Robert Gregory
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04:47:46       1   just met the defendant and the defendant just approached him
04:47:48       2   and got customers. Well, let's talk about that too. First of
04:47:51       3   all, Robert Gregory told you -- and I think it was clear from
04:47:55       4   his testimony -- he's clearly a car guy. And he told you he
04:47:59       5   went down to Lee's, because Lee's had special performance
04:48:02       6   parts, parts he couldn't get in Milwaukee. He said that in
04:48:05       7   his testimony. So he went down to Lee's and he's down there
04:48:08       8   and he has his BMW 528.
04:48:12       9               The defendant knew that he had -- the defendant was
04:48:17     10    down there too, probably saw his BMW 528, and he approached
04:48:22     11    him. You heard from those recordings -- and I'll get more
04:48:25     12    into those recordings later. The defendant needed customers.
04:48:29     13    He needed to be able to move his product. He needed to be
04:48:32     14    able to get rid of that -- those kilograms of cocaine, so he
04:48:35     15    could pay back his supplier. He was worried about his
04:48:38     16    commerce being stolen from him. He was -- he was worried
04:48:41     17    about it.
04:48:42     18                So he did approach Robert Gregory. And you know
04:48:45     19    what? He made the right choice, because Robert Gregory was a
04:48:48     20    drug dealer. And how did he find out that they were both in
04:48:52     21    the game? Because Robert Gregory and him spoke in code. They
04:48:55     22    didn't say that they were just drug dealers. I do my thing.
04:48:58     23    Read between the lines. What does that mean? Robert Gregory
04:49:01     24    told you on the stand. It meant I was -- it meant that I was
04:49:04     25    a drug dealer to another drug dealer.
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04:49:07       1               Also, the defense counsel speculated about Robert
04:49:16       2   Gregory's possible motivation for making this whole thing up,
04:49:20       3   that he was protecting his source, his real source. He told
04:49:23       4   you about his other source on the stand, Juan, that was his
04:49:27       5   other source. He told you. He got drugs from Juan, and he
04:49:31       6   got drugs from the defendant. He wasn't protecting anyone.
04:49:34       7   You can use your common sense. He was up there. He was
04:49:38       8   giving you details.
04:49:38       9               He's corroborated. He's corroborated by financial
04:49:41     10    records showing gas station purchases at Dolton, at Lee's
04:49:45     11    Foreign Auto Shop. He's corroborated by his phones that were
04:49:49     12    found in his mother's house. He wasn't manipulating these
04:49:52     13    phones and then giving them to the Government. Those phones
04:49:55     14    were found during a search of his mother's house. And those
04:49:58     15    phones had on them -- on them -- on the day that they were
04:50:03     16    found this information.
04:50:12     17                How else are these witnesses corroborated? The
04:50:15     18    nickname Ron Ron. They all knew him as Ron Ron. He's in the
04:50:20     19    phone as RR. And where else is he Ron Ron? He's Ron Ron on
04:50:26     20    those recordings that Special Agent Bagley listened to, that
04:50:31     21    you heard, where he identifies himself as Ron Ron. And
04:50:34     22    through Double R Construction, just like RR on his financial
04:50:39     23    records. And where else is he Ron Ron? On the phone that law
04:50:45     24    enforcement got from Pedro Flores from Mexico, where the only
04:50:50     25    contact in that phone was Ron Ron.
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04:50:53       1               Yeah, the subscriber information showed it was a
04:50:59       2   prepaid phone without ID. And we'll get to all the various
04:51:02       3   ways in which the defendant and the supplier took precautions.
04:51:05       4   But you heard they were switching phones every other month to
04:51:10       5   evade law enforcement. There was one contact name in there,
04:51:14       6   Ron Ron.
04:51:14       7               And what's the greatest corroboration of all? The
04:51:23       8   recordings. Notice how little time defense counsel spent
04:51:27       9   talking about the content of those recordings and talking
04:51:29     10    about those recordings. Not that much time, because those
04:51:33     11    recordings are the greatest corroboration of all. That's the
04:51:37     12    defendant's voice you heard confirming and corroborating all
04:51:41     13    the details that those witnesses told you up on the stand.
04:51:44     14                The defendant got fronted cocaine, sometimes up to 50
04:51:48     15    kilograms at a time, and he would get -- he would set up the
04:51:52     16    deal with his supplier, and then he would pick up the cocaine
04:51:54     17    from the drug couriers. And then what did he do? Just like
04:51:58     18    on those phone calls. He sold it to his customers. He had
04:52:01     19    customers at the ready, and he sold it to them and he fronted
04:52:04     20    it to them.
04:52:05     21                And what else did you see? That 1500 that he earned
04:52:09     22    per kilogram, where did you see that? In the financial
04:52:13     23    records. And I want to talk to you just briefly about the
04:52:15     24    financial records, because I think that there was some
04:52:18     25    confusion there too.
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04:52:19       1               The defense counsel seems to believe that Mr. Killian
04:52:23       2   originally said that it was all cash that he was finding. He
04:52:27       3   told you he was following the money, he was trying to look at
04:52:29       4   the defendant's use of cash. Look at summary chart 3K. This
04:52:34       5   was before defense counsel ever cross-examined Mr. Killian.
04:52:37       6               Up on the top of the title, it says, Summary of cash
04:52:41       7   and payments, payments. And what did Mr. Killian tell you
04:52:44       8   what those payments could possibly be? Money orders,
04:52:48       9   cashier's checks, he didn't know. It could be various
04:52:51     10    different things. What else did he tell you -- and I think
04:52:54     11    this point got a little confused too -- he told you he looked
04:52:58     12    for other bank accounts, that that was part of his financial
04:53:01     13    analysis. He was looking for other bank accounts. He didn't
04:53:04     14    find any other bank accounts. He candidly told you, that's
04:53:06     15    not to say that they are not out there. But he didn't find
04:53:13     16    any. He was looking.
04:53:13     17                What else? The defense counsel asked Mr. Killian
04:53:16     18    about whether or not there was off-the-books money possibly,
04:53:21     19    that people had money off the books that they didn't report?
04:53:24     20    Well, what's the greatest off-the-books money? Money from
04:53:27     21    drug dealing. And you can look at that $234,000, and you can
04:53:33     22    look at that. It has no identifiable source, and you can
04:53:38     23    reasonably infer, taken with all the other evidence you heard,
04:53:41     24    and when you hear that 1500 per kilogram profit, you know
04:53:45     25    exactly where that money came from. You can reasonably infer
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04:53:48       1   it was drug dealing.
04:53:49       2               Now, the defendant told you in his opening statement
04:53:53       3   that there would be no evidence of large sums of cash.
04:53:57       4   However, there's your evidence of large sums of cash right
04:53:59       5   there.
04:54:00       6               He also told you that you would hear no evidence of
04:54:03       7   Bentleys. Well, Robert Gregory told you about two he saw the
04:54:07       8   defendant in.
04:54:09       9               He also told you that you would hear no evidence of
04:54:11     10    guns from the defendant. Well, what did you hear from the
04:54:15     11    witnesses? None of them carried guns when they went to do
04:54:19     12    this drug courier thing. In fact, Cesar Perez told you about
04:54:22     13    the gun deal he did. And he said, It was against the rules to
04:54:26     14    keep the guns and the drugs at the same stash house, but they
04:54:29     15    were doing it just this once. This organization didn't use
04:54:32     16    guns to deliver their drugs. They used duffle bags and hidden
04:54:36     17    compartments and switching cars.
04:54:38     18                Defense counsel also talked to you a lot about Pedro
04:54:44     19    Flores and Margarito Flores and their cooperation. And he
04:54:47     20    talked about the fact that they were selling drugs during this
04:54:50     21    time period, the Government knew, and they were negotiating.
04:54:54     22    Well, first of all, let's just clear up some facts.
04:54:56     23                What you heard during your time of testimony was that
04:55:01     24    the Government did not know exactly where they were during the
04:55:04     25    time period when they were first contacted in April, that
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04:55:07       1   there was F -- there was some communication. In August there
04:55:11       2   was a meeting, and in November they officially started
04:55:14       3   cooperating. And in November what happened as well? They
04:55:17       4   started making phone calls at law enforcement's direction.
04:55:21       5   They started recording conversations.
04:55:23       6               And, in fact, they were told as early as August to
04:55:25       7   start recording with their customers. Sure, their
04:55:28       8   organization kept dealing drugs and going on. They were
04:55:31       9   recording it at the direction of law enforcement.
04:55:33     10                And as far as whether or not they were dealing drugs
04:55:36     11    during this time period, first of all, as you heard, they were
04:55:39     12    not in the Government's control until November. Second of
04:55:43     13    all, there was not definite knowledge of whether or not they
04:55:47     14    were doing it. But most importantly, it doesn't matter. They
04:55:52     15    are not the ones before you right now. And you're going to
04:55:55     16    get an instruction about that from the judge, I expect, after
04:55:59     17    you're done. And that instruction is going to say: You
04:56:01     18    should not speculate why any other person whose name you may
04:56:04     19    have heard during the trial is not currently on trial before
04:56:08     20    you.
04:56:09     21                They are not here before you. Your job -- and it is
04:56:12     22    a very important one -- is to decide the guilt of the
04:56:16     23    defendant. Not Pedro Flores, not Margarito Flores. It's a
04:56:20     24    red herring. It's meant to distract you. It's meant to make
04:56:24     25    you angry. Don't let it. Stay focused. Look at the
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04:56:29       1   information in front of you and the evidence in front of you.
04:56:32       2               Pedro Flores made recordings. You heard them in
04:56:37       3   November. He made them at the direction of law enforcement,
04:56:39       4   and he made them with the defendant. And how do you know?
04:56:44       5   You know this, because there is corroborating evidence.
04:56:49       6   First, you heard already about the voice comparison. And
04:56:52       7   defense counsel and I disagree again about what the evidence
04:56:55       8   was, but it's your recollections that matter.
04:56:57       9               In my recollection of the evidence, Special Agent
04:57:02     10    Eric Durante testified to you that he spoke to the defendant
04:57:04     11    for 45 minutes in August 2009, before and after that -- on
04:57:09     12    that day, he listened to the recordings and he made a voice ID
04:57:13     13    that day comparing the recordings.
04:57:16     14                What else did you hear? Special Agent Bagley
04:57:19     15    listened to several hours of recordings of the defendant's
04:57:23     16    voice, and one of which you heard. And he made a voice ID,
04:57:29     17    after he listened to the recordings from November and the
04:57:32     18    recordings on the same day, and he determined it was the
04:57:35     19    defendant.
04:57:35     20                And you will have those recordings back there and you
04:57:38     21    can listen to them too. And you can think about whether or
04:57:40     22    not there's differences in voice, based on the quality of the
04:57:44     23    recording. And there is differences in the quality of the
04:57:46     24    recording. And you can think about whether or not there's
04:57:49     25    differences, based on the circumstance. The defendant being
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04:57:51       1   very stressed out about where his kilograms were coming from
04:57:54       2   versus talking to a girl on the phone. But at bottom, two
04:57:59       3   agents listened to those recordings and they identified them.
04:58:02       4   And you heard the recording yourself in court.
04:58:04       5               That is sufficient evidence. You are not going to
04:58:08       6   find in here anywhere that says that the Government has to use
04:58:11       7   some sort of computerized voice ID.
04:58:13       8               And what else? This isn't CSI, and this isn't NCIS,
04:58:18       9   and this isn't even Law and Order. And I'm sure law
04:58:22     10    enforcement wishes it was, but there are certain technologies
04:58:25     11    that are not used in law enforcement. And Special Agent
04:58:29     12    Durante told you about that. He was asked about the science
04:58:32     13    and the computer. And what did he tell you? He said, Not in
04:58:35     14    his thirteen years has he ever seen that used.
04:58:38     15                But what else did he tell you? He told you in almost
04:58:40     16    every case there's voice ID. So it's true. He's not an
04:58:45     17    expert, but he's familiar with this. It happens in almost
04:58:50     18    every case. This isn't unusual. It's not atypical. It's a
04:58:57     19    legitimate law enforcement tool. And there's also evidence
04:59:01     20    besides, for this voice ID, that corroborates them.
04:59:04     21                There's evidence from the Mexican phone that Pedro
04:59:08     22    Flores gave to Special Agent McCarthy. In that phone there
04:59:13     23    was the contact Ron Ron and also there's text messages. Those
04:59:21     24    text messages that special -- that Karyn Mastricola got from
04:59:27     25    the phone, look at the T-Mobile records. Those T-Mobile
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04:59:31       1   records show those text messages on the T-Mobile records for
04:59:37       2   the phone that started with 773, the defendant's phone that he
04:59:40       3   was using. Those text messages, taking into account that
04:59:43       4   Pacific Daylight Time, corroborate.
04:59:47       5               And what else do you know? What else do you know?
05:00:04       6   You also know that when you're looking at that phone and
05:00:09       7   you're looking at and you're remembering those recordings and
05:00:12       8   those transcripts, they made sense. They made sense in
05:00:16       9   context. The whole stopping and starting. Their voices were
05:00:20     10    overlapping with each other. The conversation flowed. You
05:00:24     11    can read those, and you can understand exactly what's
05:00:26     12    happening.
05:00:26     13                It would be difficult -- you can use your common
05:00:29     14    sense. It would be difficult to start and stop and do a
05:00:32     15    tampering job on those recordings. They flowed from one
05:00:35     16    another. They made sense.
05:00:36     17                In fact, you had a November 29th call and that
05:00:39     18    November 29th call said, Oh, I'll call you later. And then
05:00:42     19    what did you get on November 30th? The very beginning of the,
05:00:46     20    Oh, sorry I didn't call you back later. They all made sense
05:00:50     21    chronologically. They corroborate the digital time stamp on
05:00:54     22    there. And if you look at the T-Mobile records you can see --
05:00:57     23    what do you see? You see an outgoing call from the
05:01:00     24    defendant's phone to the Mexican phone for four minutes. It
05:01:06     25    is the only outgoing call for four minutes on the November
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05:01:08       1   T-Mobile bill.
05:01:09       2               How long was that first recording? Just a little
05:01:13       3   less -- between three minutes and four minutes, rounded up for
05:01:17       4   T-Mobile to four minutes. That's how you know that phone call
05:01:23       5   was made. That's how it's corroborated.
05:01:31       6               You also heard defense counsel talk about the lack of
05:01:35       7   surveillance, the lack of aerial photos, the lack of GPS
05:01:38       8   tracking devices. Nowhere in the jury instructions you get
05:01:41       9   from the judge will it say, You cannot convict the defendant
05:01:45     10    unless there are aerial pictures, unless there are GPS
05:01:50     11    tracking devices. It won't say it, because you just need
05:01:55     12    evidence beyond a reasonable doubt, which is an important
05:01:57     13    standard and a high standard, but it doesn't require specific
05:02:00     14    kinds ...
05:02:00     15                And why weren't there surveillance? Why weren't
05:02:03     16    there GPS? Why weren't all these things? Because the
05:02:06     17    defendant was careful. And you heard evidence about how
05:02:10     18    careful the defendant was. He switched phones every couple
05:02:13     19    months. He told Robert -- Robert Gregory told you why.
05:02:16     20    Because if the phone got hot, he switched it. Danny Torres
05:02:20     21    and him moved three times before he finally took that delivery
05:02:23     22    of cocaine. Why? Because something was wrong. That's what
05:02:26     23    he said.
05:02:27     24                And you also heard about him talking in code? You
05:02:31     25    heard him talking in code to the Mexicans. You heard him
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05:02:35       1   taking precautions. He took the drugs in duffle bags and
05:02:39       2   hidden compartments. He was careful. He was careful, and it
05:02:42       3   allowed him to do it for three years without getting caught.
05:02:45       4   What else -- by the way, that also corroborates.
05:02:49       5               The telephone calls. Robert Gregory, he doesn't know
05:02:53       6   the Flores brothers. He doesn't know the drug couriers. He
05:02:56       7   didn't know a single one of those names. Those were not his
05:03:00       8   suppliers. The defendant was.
05:03:01       9               And what did he tell you? He told you at the end
05:03:04     10    when he asked the defendant what was going on why he wasn't
05:03:06     11    able to get as much cocaine? The Mexicans are telling. The
05:03:10     12    Mexicans are telling. Robert Gregory doesn't know who the
05:03:13     13    Mexicans are, but you do. Pedro and Margarito Flores. And
05:03:17     14    what did the defendant realize? They were working with law
05:03:21     15    enforcement, and he was right.
05:03:33     16                The defense counsel told you in the beginning that
05:03:37     17    you will see financial records where the defendant is making
05:03:41     18    car payments, like normal people, and mortgage payments, like
05:03:45     19    normal people, and he has credit cards at the Home Depot, like
05:03:49     20    normal people. Normal people do not switch phones every three
05:03:52     21    months. Normal people do not approach people in Lee's Auto
05:03:56     22    Shop and talk about making a drug deal. Normal people do not
05:04:00     23    talk in code on text messages. They don't talk in code on
05:04:04     24    phone calls. Drug dealers do, and this drug dealer did.
05:04:13     25                When you go back to the jury room, you are going to
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05:04:17       1   have the evidence that you have heard. You are going to have
05:04:19       2   your recollection of the testimony. And the most important
05:04:22       3   thing that you are going to have is your common sense. Do not
05:04:26       4   check your common sense at the door. Use your common sense
05:04:29       5   when you look at this evidence and when you look at the
05:04:32       6   testimony, and return the only verdict that is supported by
05:04:36       7   that evidence and that testimony, a verdict of guilty.
05:04:36       8                                        - - -
05:04:41       9                          JURY CHARGE, BY THE COURT
05:04:41     10                THE COURT: Okay, folks. Now, you have seen and
05:04:46     11    heard all of the evidence and the arguments in this case, and
05:04:49     12    I am going to instruct you on the law.
05:04:51     13                You have two duties as a jury, and your first duty is
05:04:57     14    to decide the facts from the evidence in the case, and this is
05:04:59     15    your job and your job alone.
05:05:01     16                Don't worry about writing down any of this, because
05:05:04     17    I'm going to give you these back there in the jury room, so
05:05:06     18    just listen.
05:05:07     19                Okay. Your second duty is to apply the law that I
05:05:10     20    give to you to the facts, and you must follow these
05:05:13     21    instructions, even if you disagree with them. Each of the
05:05:16     22    instructions is important, and you must follow all of them.
05:05:20     23                Perform these duties fairly and impartially. Do not
05:05:24     24    allow sympathy, prejudice, fear, or public opinion to
05:05:29     25    influence you. You should not be influenced by any person's
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05:05:32       1   race, color, religion, national ancestry, or sex.
05:05:36       2               And nothing that I say now, nor nothing that I said
05:05:40       3   or did during the trial, is meant to indicate any opinion on
05:05:43       4   my part about what the facts are or about what your verdict
05:05:48       5   should be.
05:05:51       6               Now, the evidence consists of the testimony of the
05:05:53       7   witness, the exhibits admitted into evidence, and
05:05:55       8   stipulations.
05:05:56       9               A stipulation is an agreement between both sides that
05:06:01     10    certain facts are true or that a person would have given
05:06:03     11    certain testimony.
05:06:05     12                You are to decide whether the testimony of each
05:06:08     13    witness is truthful and accurate, in part, in whole, or not at
05:06:12     14    all, as well as what weight, if any, that you give to the
05:06:17     15    testimony of each witness.
05:06:18     16                In evaluating the testimony of any witness, you may
05:06:22     17    consider, among other things:
05:06:24     18                The witness' intelligence;
05:06:26     19                The ability and the opportunity the witness had to
05:06:29     20    see, hear, or know the things that the witness testified
05:06:29     21    about;
05:06:34     22                The witness' memory;
05:06:36     23                Any interest, bias, or prejudice that the witness may
05:06:40     24    have;
05:06:41     25                The manner of the witness while testifying; and
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05:06:44       1               The reasonableness of the witness' testimony in light
05:06:47       2   of all of the evidence in the case.
05:06:51       3               You should use common sense in weighing the evidence
05:06:54       4   and consider the evidence in light of your own observations in
05:06:57       5   life.
05:06:58       6               In our lives, we often look at one fact and conclude
05:07:02       7   from it that another fact exists. In law, we call this an
05:07:06       8   inference. A jury is allowed to make reasonable inferences.
05:07:11       9   Any inferences you make must be reasonable, and they must be
05:07:15     10    based on the evidence in the case.
05:07:19     11                Some of you may have heard the phrases circumstantial
05:07:22     12    evidence and direct evidence. Direct evidence is the
05:07:24     13    testimony of someone who claims to have personal knowledge of
05:07:28     14    the commission of the crime which has been charged, such as an
05:07:32     15    eyewitness. And circumstantial evidence is the proof of a
05:07:35     16    series of facts which tend to show whether the defendant is
05:07:40     17    guilty or not guilty. The law makes no distinction between
05:07:43     18    the weight to be given either direct or circumstantial
05:07:47     19    evidence. You should decide how much weight to give any of
05:07:51     20    the evidence, and all of the evidence in the case, including
05:07:54     21    the circumstantial evidence, should be considered by you in
05:07:57     22    reaching your verdict.
05:08:00     23                Certain things are not evidence, and I will list them
05:08:03     24    for you:
05:08:03     25                First, any testimony that I struck from the record,
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05:08:07       1   or that I told you to disregard, is not evidence and must not
05:08:11       2   be considered.
05:08:12       3               Second, anything you may have seen or heard outside
05:08:15       4   of the courtroom is not evidence and must entirely be
05:08:19       5   disregarded.
05:08:20       6               And, third, questions and objections by the lawyers
05:08:22       7   are not evidence. Attorneys have a duty to object when they
05:08:27       8   believe a question is improper, and you should not be
05:08:30       9   influenced by any objection or by my ruling on it.
05:08:35     10                Fourth, the lawyers' statements to you are not
05:08:36     11    evidence. The purpose of these statements is to discuss the
05:08:40     12    issues and the evidence. If the evidence, as you remember it,
05:08:43     13    differs from what the lawyers said, your memory is what
05:08:47     14    counts.
05:08:49     15                It is proper for an attorney to interview any witness
05:08:52     16    in preparation for trial.
05:08:56     17                The indictment in this case is the formal method of
05:08:59     18    accusing the defendant of offenses and of placing the
05:09:03     19    defendant on trial. It is not evidence against the defendant,
05:09:06     20    and it does not create any inference of guilt.
05:09:09     21                The indictment charges the defendant with conspiring
05:09:13     22    to possess with intent to distribute and to distribute a
05:09:18     23    controlled substance, namely, mixtures and substances
05:09:22     24    containing a detectable amount of cocaine.
05:09:26     25                The defendant has pleaded not guilty to the charge in
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05:09:30       1   the indictment.
05:09:34       2               The defendant is presumed to be innocent of each of
05:09:37       3   the charges. This presumption continues during every stage of
05:09:40       4   the trial and your deliberations on the verdict. It is not
05:09:42       5   overcome unless, from all the evidence in the case, you are
05:09:47       6   convinced beyond a reasonable doubt that the defendant is
05:09:50       7   guilty as charged. The Government has the burden of proving
05:09:54       8   the guilt of the defendant beyond a reasonable doubt.
05:09:56       9               This burden of proof stays with the Government
05:10:00     10    throughout the case. The defendant is never required to prove
05:10:03     11    his innocence or to produce any evidence at all.
05:10:07     12                The defendant has an absolute right not to testify.
05:10:11     13    The fact that the defendant did not testify should not be
05:10:14     14    considered by you in any way in arriving at your verdict.
05:10:20     15                You have heard a witness give opinions about matters
05:10:23     16    requiring special knowledge or skill. You should judge this
05:10:27     17    testimony in the same way that you judge the testimony of any
05:10:30     18    other witness. The fact that such a person has given an
05:10:34     19    opinion does not mean that you are required to accept it.
05:10:38     20    Give the testimony whatever weight you think it deserves,
05:10:41     21    considering the reasons given for the opinion, the witness'
05:10:45     22    qualifications, and all of the other evidence in the case.
05:10:50     23                You have heard testimony of an identification of a
05:10:54     24    person. Identification testimony is an expression of belief
05:10:58     25    or impression by the witness. You should consider whether, or
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05:11:02       1   to what extent, the witness had the ability and the
05:11:06       2   opportunity to observe or to hear the person and to make a
05:11:10       3   reliable identification. You should also consider the
05:11:13       4   circumstances under which the witness later made the
05:11:17       5   identification.
05:11:17       6               The Government has the burden of proving beyond a
05:11:21       7   reasonable doubt that the defendant was the person who
05:11:23       8   committed the crime charged.
05:11:26       9               You have heard evidence that Daniel Torres has been
05:11:29     10    convicted of crimes. You may consider this evidence only in
05:11:33     11    deciding whether Daniel Torres' testimony is truthful in
05:11:37     12    whole, in part, or not at all. You may not consider this
05:11:40     13    evidence for any other purpose.
05:11:44     14                You have heard testimony from Antonio Aguilera,
05:11:47     15    Robert Gregory, Jorge Llamas, Cesar Perez, and Daniel Torres,
05:11:54     16    each of whom has:
05:11:55     17                In the case of Robert Gregory, Jorge Llamas, Cesar
05:12:00     18    Perez, and Daniel Torres, received benefits from the
05:12:03     19    Government, namely, a plea agreement calling for a reduced
05:12:07     20    sentence in exchange for truthful cooperation;
05:12:10     21                Stated that he was involved in the commission of the
05:12:13     22    offense as charged against the defendant; and
05:12:16     23                Pleaded guilty to an offense arising out of the same
05:12:20     24    occurrence for which the defendant is now on trial. Their
05:12:23     25    guilty pleas are not to be considered as evidence against the
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05:12:26       1   defendant.
05:12:26       2               You may give the testimony of each of these witnesses
05:12:30       3   such weight as you feel it deserves, keeping in mind that it
05:12:34       4   must be considered with caution and great care.
05:12:38       5               Certain summaries are in evidence. They truly and
05:12:42       6   accurately summarize the contents of voluminous books,
05:12:46       7   records, or documents, and should be considered together with
05:12:48       8   and in the same way as all of the other evidence in the case.
05:12:53       9               You have heard recorded conversations. These
05:12:56     10    recordings are proper evidence and you may consider them, just
05:13:00     11    as any other evidence.
05:13:01     12                When the recordings were played during the trial, you
05:13:05     13    were furnished transcripts of the recorded conversations,
05:13:08     14    prepared by Government agents. The recordings are the
05:13:11     15    evidence, and the transcripts were provided to you only as a
05:13:15     16    guide to help you follow as you listen to those recordings.
05:13:19     17    The transcripts are not evidence of what was actually said or
05:13:23     18    who said it. It is up to you to decide whether the
05:13:27     19    transcripts correctly reflect what was said and who said it.
05:13:31     20    If you noticed any difference between what you heard on the
05:13:34     21    recordings and what you read in the transcripts, you must rely
05:13:38     22    on what you heard, not on what you read. And if, after
05:13:42     23    careful listening, you could not hear or understand certain
05:13:45     24    parts of recordings, you must ignore the transcripts as far as
05:13:48     25    those parts concerned.
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05:13:51       1               I am providing you with the recordings and computer
05:13:54       2   on which you can play them. You are not required to play the
05:13:57       3   recordings, in part or in whole. You may rely, instead, on
05:14:01       4   your recollections of these recordings as you heard them at
05:14:04       5   trial. I am also providing you with a set of transcripts to
05:14:08       6   aid in your deliberations. You may choose to review the
05:14:10       7   recordings with or without the transcripts.
05:14:14       8               The recordings contain statements allegedly made by
05:14:17       9   the defendant and another individual, Pedro Flores. You are
05:14:21     10    not to consider the statements made on the recordings by Pedro
05:14:25     11    Flores for the truth. However, you may consider the
05:14:28     12    statements made on the recordings by Pedro Flores to place
05:14:32     13    context -- to place in context and help you understand the
05:14:35     14    statements allegedly made by the defendant on the recordings.
05:14:40     15                A conspiracy is an agreement between two or more
05:14:43     16    persons to accomplish an unlawful purpose. To sustain the
05:14:47     17    charge of conspiracy in the indictment, the Government must
05:14:50     18    prove:
05:14:51     19                First, that the conspiracy as charged in the
05:14:54     20    indictment existed;
05:14:55     21                And, second, that the defendant knowingly became a
05:14:58     22    member of the charged conspiracy with an intention to further
05:15:02     23    the conspiracy.
05:15:03     24                If you find, from your consideration of all of the
05:15:07     25    evidence, that each of these propositions has been proved
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05:15:10       1   beyond a reasonable doubt as to the defendant, then you should
05:15:13       2   find the defendant guilty.
05:15:14       3               If, on the other hand, you find from your
05:15:17       4   consideration of all of the evidence that any of these
05:15:21       5   propositions has not been proved beyond a reasonable doubt as
05:15:24       6   to the defendant, then you should find the defendant not
05:15:27       7   guilty.
05:15:27       8               A conspiracy may be established even if its purpose
05:15:31       9   was not accomplished.
05:15:32     10                To be a member of the conspiracy, the defendant need
05:15:35     11    not join at the beginning or know all the other members or the
05:15:40     12    means by which its purpose was to be accomplished. The
05:15:43     13    Government must prove beyond a reasonable doubt that the
05:15:45     14    defendant was aware of the common purpose and he was a willing
05:15:49     15    participant.
05:15:52     16                To establish the existence of the conspiracy charged
05:15:55     17    in the indictment, the Government need not establish an
05:15:57     18    agreement which was express or formal. A conspiracy may be
05:16:01     19    proved by circumstantial evidence and reasonable inferences
05:16:04     20    drawn therefrom concerning the relationship of the parties,
05:16:08     21    their overt acts, and the totality of their conduct.
05:16:13     22                The Government need not prove that the defendant knew
05:16:16     23    each detail of the conspiracy, or that the defendant played
05:16:19     24    more than a minor role in the conspiracy. Defendant need not
05:16:21     25    have participated in all of the events of the charged
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05:16:24       1   conspiracy to be a member of the conspiracy.
05:16:27       2               A defendant's association with conspirators or
05:16:30       3   persons involved in a criminal enterprise is not by itself
05:16:35       4   sufficient to prove his participation or membership in a
05:16:39       5   conspiracy or criminal enterprise.
05:16:42       6               The Government is not required to prove that the
05:16:47       7   conspiracy charged in the indictment involved the specific
05:16:50       8   quantity of controlled substance alleged. However, the
05:16:53       9   Government must prove that the conspiracy charged in the
05:16:56     10    indictment involved a measurable quantity of some type of
05:16:59     11    controlled substance.
05:17:01     12                The indictment charges a conspiracy to possess with
05:17:05     13    intent to distribute and to distribute a controlled substance,
05:17:07     14    namely, mixtures and substances containing a detectable amount
05:17:12     15    of cocaine. It is not necessary for the Government to prove
05:17:15     16    that the defendant knew that the conspiracy involved cocaine.
05:17:18     17    It is sufficient if the Government proves beyond a reasonable
05:17:22     18    doubt that the defendant knew that the conspiracy involved
05:17:24     19    some type of a controlled substance.
05:17:28     20                And you are instructed that cocaine is a controlled
05:17:33     21    substance.
05:17:33     22                Possession of an object is the ability to control it.
05:17:36     23    Possession may exist even when a person is not in physical
05:17:40     24    contact with the object, but knowingly has the power and
05:17:44     25    intention to exercise direction and control over it, either
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05:17:48    1   directly or through others.
05:17:52    2              Distribution is the transfer or the attempted
05:17:54    3   transfer of possession from one person to another.
05:17:59    4              Intent to distribute can be inferred from the
05:18:02    5   possession of a quantity of a controlled substance larger than
05:18:05    6   needed for personal use.
05:18:08    7              When the word knowingly or the phrase the defendant
05:18:11    8   knew is used in these instructions, it means that the
05:18:15    9   defendant realized what he was doing and was aware of the
05:18:18   10   nature of his conduct and did not act through ignorance,
05:18:22   11   mistake, or accident. Knowledge may be proved by the
05:18:25   12   defendant's conduct and by all the facts and circumstances
05:18:29   13   surrounding the case.
05:18:32   14              In an effort to detect violations of the law, it is
05:18:35   15   sometimes necessary for the Government to use consensual
05:18:38   16   recordings and confidential informants. It is not improper or
05:18:43   17   illegal for the Government to use these techniques, which are
05:18:46   18   permissible and recognized means of criminal investigation.
05:18:50   19              The indictment charges that offenses were committed
05:18:53   20   on or about certain dates. The Government must prove that
05:18:55   21   each offense happened reasonably close to that date, but it is
05:18:58   22   not required to prove that the alleged offense happened on
05:19:01   23   that exact date.
05:19:05   24              You should not speculate why any other person whose
05:19:08   25   name you may have heard during the trial is not currently on
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05:19:12    1   trial before you.
05:19:13    2              In considering the evidence and arguments that have
05:19:16    3   been given during the trial, you should not guess or speculate
05:19:18    4   about the punishment in this case. It should not enter into
05:19:21    5   your consideration or discussions at any time.
05:19:25    6              I do not anticipate that you will need to communicate
05:19:28    7   with me. If you do, however, the only proper way is in
05:19:32    8   writing, signed by the foreperson, or if he or she is
05:19:37    9   unwilling to do so, by some other juror, and then given to the
05:19:41   10   Marshal. I caution you, however, that you should never state
05:19:44   11   or specify your numerical division in any note or message that
05:19:48   12   you send to me. I also caution you that it does take some
05:19:53   13   time for us to gather the parties, if you send a note. So the
05:19:57   14   response is not immediate, because we do run your note by both
05:20:01   15   parties. And you should also note that although April is
05:20:04   16   taking very nice notes here of the entire transcript, it's
05:20:08   17   very rough form, and you do not have access to transcripts in
05:20:13   18   order to do your deliberation.
05:20:16   19              Upon retiring to the jury room, select one of your
05:20:19   20   number as your foreperson. The foreperson will preside over
05:20:22   21   your deliberations and be your representative here in court.
05:20:25   22   And forms of a verdict have been prepared for you. It's a
05:20:31   23   two-page form, and the first page reads:
05:20:33   24              With respect to the offense charged in the indictment
05:20:37   25   we, the jury, find as follows as to defendant, Ron Collins,
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05:20:39    1   and there's either a box for guilty or a box for not guilty.
05:20:44    2              If you find that the defendant is guilty of the count
05:20:48    3   charged in the indictment, then -- you must then go to the
05:20:50    4   bottom portion of the first page. And you must make a
05:20:54    5   determination of the amount of controlled substance involved
05:20:57    6   in the offense, and you just check one. It's either five
05:21:01    7   kilograms or more, 500 grams or more, or less than 500 grams,
05:21:06    8   and you just check one on the bottom, only if you find the
05:21:10    9   defendant guilty.
05:21:10   10              Then on the second page, there's a line for each of
05:21:14   11   you to sign, and the foreperson signs where it says
05:21:18   12   foreperson, and then it's dated, and then you let the Marshal
05:21:21   13   know that you've reached a verdict.
05:21:23   14              So take these forms to the jury room with you, and
05:21:26   15   when you've reached a unanimous verdict -- unanimous agreement
05:21:30   16   on the verdict, your foreperson will fill it in and date it
05:21:33   17   and then each of you will sign it.
05:21:36   18              Now, the verdict must represent the considered
05:21:39   19   judgment of each juror. Your verdict, whether it be guilty or
05:21:43   20   not guilty, must be unanimous.
05:21:44   21              You should make every reasonable effort to reach a
05:21:49   22   verdict. And in doing so, you should consult with one
05:21:52   23   another. You should express your own views and you should
05:21:55   24   listen to the opinions of your fellow jurors. Discuss your
05:21:58   25   differences with an open mind. Do not hesitate to reexamine
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05:22:02    1   your own views and change your opinion if you come to believe
05:22:06    2   it is wrong. But you shouldn't surrender your honest beliefs
05:22:11    3   about the weight or the effect of evidence solely because of
05:22:14    4   the opinions of your fellow jurors, or for the purpose of
05:22:17    5   returning a unanimous verdict.
05:22:18    6              The twelve of you should give fair and equal
05:22:22    7   consideration to all the evidence and deliberate with the goal
05:22:26    8   of reaching an agreement, which is consistent with the
05:22:29    9   individual judgment of each juror.
05:22:31   10              You are impartial judges of the facts. Your sole
05:22:35   11   interest is to determine whether the Government has proved its
05:22:40   12   case beyond a reasonable doubt.
05:22:44   13              Now, you heard me say twelve, and you know that
05:22:47   14   there's fourteen of you sitting in the box. And what that
05:22:50   15   means is that I do have two alternates who were selected for
05:22:54   16   this jury. And, unfortunately, they are the two last ones who
05:23:00   17   were selected, and I believe that's Jesus Gomez and Cheryle
05:23:05   18   Long. Now, what that means, unfortunately, is that you will
05:23:07   19   not be able to deliberate, but you are still under oath.
05:23:12   20              And what I am going to do is I am going to excuse
05:23:15   21   you, but with my order not to discuss the case at all until
05:23:20   22   you get a phone call from me. And the reason for that is that
05:23:24   23   occasionally during deliberations one of the twelve need to be
05:23:29   24   excused for health reasons or otherwise, and then we do call
05:23:34   25   in our alternates to gather with the rest of the team and
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05:23:39    1   deliberate.
05:23:39    2              So you are under the Court's order not to discuss the
05:23:43    3   case, not to do research, just as you have been. And in
05:23:46    4   return for your promise to do that, I promise we'll call you
05:23:50    5   and let you know when the verdict comes in and what the
05:23:52    6   verdict is.
05:23:53    7              So if I could, please, have Mr. Gomez and Ms. Long
05:23:57    8   stand and go to the jury room. You can walk around that way
05:24:00    9   and gather your belongings before we get the rest of you back
05:24:03   10   there to deliberate.
05:24:05   11              If you could just let those two get their things,
05:24:08   12   sir?
05:24:11   13              Thank you for your service.
05:24:12   14              THE JUROR: Thank you.
05:24:19   15              (Exit alternate jurors.)
05:24:19   16              THE COURT: And then, folks, if you'll just wait one
05:24:22   17   moment, I'm going to have the Marshal sworn in.
05:24:25   18              And tomorrow morning -- now it's 5:19, and my rule is
05:24:30   19   that you can stay 'til 6:00, if you want, or you can go home
05:24:34   20   tonight if you're tired enough and have trains to catch.
05:24:37   21              So you start at 9:00 a.m. in the morning, and you can
05:24:41   22   only go until 6:00. The reason for that is because the
05:24:44   23   Marshals go down to a smaller security staff at 6:00, and I
05:24:47   24   want to make sure everybody gets out safely back to their
05:24:51   25   trains.
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05:24:51    1              So when you go back into the room for the first time,
05:24:54    2   you may talk. However, you are still under my order not to do
05:25:00    3   any outside research, not to be on the internet, or any of
05:25:04    4   those electronic devices I told you about, until you are all
05:25:07    5   done with your jury duty.
05:25:09    6              Okay. So now you get to talk about the case, but
05:25:12    7   only with each other. All right. Let's wait 'til we get our
05:25:15    8   Marshal back.
05:26:08    9              (Enter Court Security Officer.)
05:26:11   10              THE COURT: Okay. Sir, please raise your right hand.
05:26:34   11              (The Court Security Officer was sworn.)
05:26:34   12              THE COURT: Okay. All right, folks. You can go back
05:26:35   13   and start discussing. You can pick your foreperson, and let
05:26:39   14   me know, through the Marshal, if you intend to stay tonight or
05:26:41   15   whether you are going to leave.
05:26:43   16              MS. GUREN: Your Honor, do you want them to keep
05:26:45   17   their binders?
05:26:46   18              THE COURT: Why don't you leave your binders on the
05:26:49   19   chair, but you can take the notebooks, of course. They are
05:26:52   20   yours.
05:27:01   21              (The jury leaves the courtroom.)
05:27:13   22              THE COURT: Okay. Gentlemen and ladies, it is my
05:27:16   23   practice to have you put on the record that you are in
05:27:20   24   agreement about the exhibits that are going back to the jury.
05:27:23   25   So take a moment to look at them, Mr. Rubino.
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05:27:26    1              MR. RUBINO: Yes, your Honor.
05:27:26    2              THE COURT: And make sure that everybody's in
05:27:28    3   agreement as to what goes back, and that is on the record
05:27:31    4   before it goes back. Okay.
05:27:34    5              You can be seated, folks.
05:31:16    6              I think they are going to go home, just so you know.
05:31:20    7              So as soon as we get this on the record, you can
05:31:23    8   bring him up.
05:36:18    9              Okay, folks. Have you had a chance to review all the
05:36:21   10   evidence.
05:36:22   11              MR. RUBINO: Yes, your Honor, I have.
05:36:22   12              THE COURT: Okay. And is everything satisfactory as
05:36:24   13   to what was admitted and what's going back to the jury to you,
05:36:27   14   Mr. Rubino?
05:36:28   15              MR. RUBINO: Yes, your Honor.
05:36:28   16              THE COURT: Okay.
05:36:29   17              MR. RUBINO: I have gone through each piece. I
05:36:31   18   recognize everything as having been previously provided to me
05:36:35   19   by the Government, and I've checked it against my list and
05:36:38   20   it's my opinion everything the Court has admitted.
05:36:38   21              THE COURT: Perfect.
05:36:39   22              And how about you, Ms. Guren, same with you?
05:36:41   23              MS. GUREN: Yes, your Honor.
05:36:41   24              THE COURT: Okay. Well, then that will all go back.
05:36:43   25              Now, is there -- are there instructions for the
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05:36:45    1   computer?
05:36:45    2              MS. GUREN: There are.
05:36:46    3              THE COURT: Okay. All right.
05:36:47    4              MS. GUREN: It's in the computerized thing. And if
05:36:49    5   the jury should need someone to actually assist, please let us
05:36:52    6   know. We've got an ALS person who can help.
05:36:56    7              THE COURT: Got it. Okay. Wonderful. Thank you.
05:36:56    8              We need cellphone numbers for everyone, if you could
05:36:59    9   give to Mr. Baltruzak, I'd appreciate it, so that we can reach
05:37:02   10   you in case we have a question or a verdict.
05:37:04   11              All right. Thanks very much.
05:37:06   12              MR. RUBINO: How much time do you want for us to be
05:37:10   13   back here?
05:37:10   14              THE COURT: Oh, are you staying nearby?
05:37:13   15              MR. RUBINO: Yes.
05:37:13   16              THE COURT: Oh, okay.
05:37:13   17              MR. RUBINO: Probably 15, 20 minutes on the outside.
05:37:16   18              THE COURT: Okay. That's --
05:37:17   19              MR. RUBINO: I make it in five with the cab, but just
05:37:19   20   assuming the cab is late.
05:37:19   21              THE COURT: Well, I'll just notify you, and then as
05:37:22   22   soon as you can make it back. Okay.
05:37:22   23              MR. RUBINO: No problem.
05:37:23   24              THE COURT: All right. And thank you for the
05:37:25   25   professional trial, folks.
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05:37:26    1              MS. GUREN: Thank you, your Honor.
05:37:27    2              MR. RUBINO: Thank you, your Honor.
05:37:27    3              (Adjourned at 5:37 p.m.)
            4                                       - - -
            5
            6
            7
            8                             C E R T I F I C A T E
            9
           10      I certify that the foregoing is a correct transcript from
           11   the record of proceedings in the above-entitled matter.
           12
           13   /s/April M. Metzler, RPR, CRR, FCRR            June 6, 2011
           14   April M. Metzler, RPR, CRR, FCRR               Date
           15   Official Federal Court Reporter
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